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        EXHIBIT A

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                                CONFIDENTIAL

 1                  UNITED STATES DISTRICT COURT
 2        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 3
        _____________________________
 4                                   )
        MCCANDLESS GROUP, LLC,       )
 5                                   )
                  Plaintiff,         )
 6                                   )
             vs.                     )
 7                                   )Case No.
        THE COY COLLECTIVE, et al., )
 8                                   )2:21-cv-02069-DOC-KES
                  Defendants.        )
 9      _____________________________)
                                     )
10      THE COY COLLECTIVE, et al.   )
                                     )
11                Counterclaimants, )
                                     )
12           vs                      )
                                     )
13      MCCANDLESS GROUP, LLC and    )
        NICHOLAS MCCANDLESS,         )
14                                   )
                  Counterdefendants. )
15      _____________________________)
16
                    --    C O N F I D E N T I A L --
17
                   DEPOSITION OF NICHOLAS MCCANDLESS
18
                         Thursday, August 17, 2023
19
20
21
22      Reported by:
        KATHLEEN E. BARNEY
23      CSR No. 5698, RPR
        NADIA NEWHART
24      CSR No. 8714
        Job No. 6058696
25      PAGES 1 - 218

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 1                   UNITED STATES DISTRICT COURT
 2         CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 3
 4      _____________________________
                                     )
 5      MCCANDLESS GROUP, LLC,       )
                                     )
 6                Plaintiff,         )
                                     )
 7           vs.                     )
                                     )Case No.
 8      THE COY COLLECTIVE, et al., )
                                     )2:21-cv-02069-DOC-KES
 9                Defendants.        )
        _____________________________)
10                                   )
        THE COY COLLECTIVE, et al.   )
11                                   )
                  Counterclaimants, )
12                                   )
             vs.                     )
13                                   )
        MCCANDLESS GROUP, LLC and    )
14      NICHOLAS MCCANDLESS,         )
                                     )
15                Counterdefendants. )
                                     )
16      _____________________________)
17
18
19             Deposition of NICHOLAS MCCANDLESS, Volume I,
20      taken on behalf of Defendants and Counterclaimants,
21      beginning at 10:12 a.m. and ending at 5:32 p.m. on
22      Thursday, August 17, 2023, before KATHLEEN E.
23      BARNEY, Certified Shorthand Reporter No. 5698.
24
25

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 1      BY MR. ROLFS:

 2         Q     You recall earlier in this deposition, I

 3      asked you if there was any confidentiality agreement

 4      between Rayo Infotech and McCandless Group, and you

 5      identified one agreement, correct?                             01:38:10

 6         A     I do believe that's what I said.

 7         Q     Is the agreement that you were referring to

 8      when I asked if Mr. Prajapati ever sent you a

 9      nondisclosure agreement that same agreement?

10         A     I believe so.                                         01:38:33

11         Q     If you'd please go to the page that has on

12      the bottom MCCANDLESS 22161.         You'll see the fourth

13      text down on the chain from Mr. Prajapati says (as

14      read):

15               "Yes, but they do not have any platform               01:38:57

16         code."

17               What, to your knowledge, was Mr. Prajapati

18      referring to in this text message?

19               MR. CHING:     Objection.    The document speaks

20      for itself.     Calls for speculation.                         01:39:10

21               You can answer if you know.

22               THE WITNESS:     I believe he's referring

23      to that he never gave the code to Coy.          I believe

24      that's what he's referring to.

25      BY MR. ROLFS:                                                  01:39:31

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 1         Q   No one at Rayo Infotech ever provided any

 2      code to Coy, correct?

 3             MR. CHING:     Objection.     Calls for

 4      speculation.

 5             You can answer if you know.                          01:39:39

 6             THE WITNESS:     To the best of my knowledge, we

 7      never sent them the code repository.

 8      BY MR. ROLFS:

 9         Q   And when you say "we," are you referring to

10      both McCandless Group and Rayo Infotech?                    01:39:55

11         A   To the best of my knowledge, Rayo Infotech

12      and McCandless Group did not send them the code

13      repository.

14         Q   If you go to the next page, third text chain

15      down, you'll see a text message from you that says          01:40:23

16      (as read):

17             "Just need all of the details on the

18         protocols."

19             Do you see that?

20         A   Yes.                                                 01:40:33

21         Q   What protocols were you asking Mr. Prajapati

22      for?

23             MR. CHING:     Objection.     Vague as to

24      "protocols."     The document speaks for itself and

25      calls for speculation.                                      01:40:43

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 1             MR. CHING:     Objection.   Calls for

 2      speculation.

 3             You can answer if you know.

 4             THE WITNESS:     I do not recall.

 5      BY MR. ROLFS:                                              01:41:53

 6         Q   Can you recall the year that you first spoke

 7      with Mr. Prajapati about these protocols?

 8             MR. CHING:     Objection.   Calls for

 9      speculation.

10             You can answer if you know.                         01:42:02

11             THE WITNESS:     I do not recall.

12      BY MR. ROLFS:

13         Q   What is the first year that you can remember

14      speaking with Mr. Prajapati about these protocols?

15             MR. CHING:     Objection.   Asked and answered,     01:42:22

16      calls for speculation.

17             You can answer if you know.

18             THE WITNESS:     I do not recall.

19      BY MR. ROLFS:

20         Q   Did Rayo Infotech build McCandless Group's          01:42:32

21      current tech stack?

22         A   In collaboration with myself, yes.

23         Q   Did Rayo Infotech also build the version of

24      the tech stack that McCandless Group used in 2020?

25         A   Yes.                                                01:42:54

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 1         A      Yes.

 2         Q      Who?

 3         A      Scott Robinson and I believe Jason Moskowitz,

 4      but I'm not a hundred percent sure.

 5         Q      Is there anyone else who sent the pitch deck        11:16:04

 6      for McCandless Group outside of McCandless Group

 7      other than you, Scott Robinson, and possibly Jason

 8      Moskowitz?

 9         A      I do not recall anyone else.

10                MR. ROLFS:     I'm going to ask the court           11:16:38

11      reporter to mark this exhibit as next in order.

12                (Exhibit 4 was marked for identification and

13         is attached hereto.)

14      BY MR. ROLFS:

15         Q      Mr. McCandless, do you recognize this email?        11:17:11

16         A      It was a while ago, so I do not remember

17      this.

18         Q      Is this an email that you sent to Jason

19      Newman on July 31, 2020?

20                MR. CHING:     Objection.   Document speaks for     11:17:36

21      itself.     Calls for speculation.

22                You can answer if you know.

23                THE WITNESS:     Based on this document, I'd go

24      off what the document says.

25      ////

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 1      BY MR. ROLFS:

 2         Q   Do you remember ever sending an email to

 3      Jason Newman?

 4         A   I'm not recalling Jason Newman.

 5         Q   You don't know who Jason Newman is, sitting          11:17:57

 6      here today?

 7         A   I do not recall who he is.

 8         Q   Do you have any reason to doubt that this is

 9      a copy of an email that you sent to Jason Newman on

10      July 31, 2020?                                              11:18:18

11         A   I don't have a reason to doubt it.

12         Q   At the time that you sent this email to Jason

13      Newman, did you have a nondisclosure or

14      confidentiality agreement with Mr. Newman or his

15      company?                                                    11:18:40

16         A   I do not recall.

17         Q   You do not recall any confidentiality or

18      nondisclosure agreement between McCandless Group and

19      Mr. Newman or his company, correct?

20             MR. CHING:     Objection.    Asked and answered.     11:18:55

21             THE WITNESS:     I do not recall.

22      BY MR. ROLFS:

23         Q   You'll see that there is an attachment to

24      this email, correct?

25         A   Where?                                               11:19:10

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 1         Q    Well, you'll see under "Subject," there's an

 2      attachments line?

 3         A    Yes, I do see that.

 4         Q    And you'll see the attachment is identified

 5      as McCandless Group Deck.PDF, correct?                     11:19:21

 6         A    That's what it says.

 7         Q    Is that the pitch deck for McCandless Group?

 8              And you're free to look at the actual

 9      attachment that follows the email to verify.

10         A    This would have been a deck we used at one         11:20:05

11      point, yes.

12         Q    Do you know which version of the McCandless

13      Group pitch deck this is?

14         A    This was a general company deck that was

15      used.   I do not recall, but this is a different           11:20:25

16      iteration than what we primarily used for

17      influencers.

18         Q    About how many times did you use this

19      iteration of the pitch deck?

20              MR. CHING:     Objection.   Calls for              11:20:39

21      speculation.

22              You can answer if you know.

23              THE WITNESS:     I do not recall.

24      BY MR. ROLFS:

25         Q    About how many times have you personally sent      11:20:48

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  1     a version of the McCandless Group pitch deck outside

  2     of McCandless Group?

  3             MR. CHING:     Objection.   Calls for

  4     speculation.

  5             You can answer if you know.                           11:20:56

  6             THE WITNESS:     I do not recall.

  7     BY MR. ROLFS:

  8        Q    Do you think that you've sent a copy of the

  9     McCandless Group pitch deck outside of McCandless

 10     Group more or less than 100 times?                            11:21:08

 11             MR. CHING:     Objection.   Calls for

 12     speculation.

 13             You can answer if you know.

 14             THE WITNESS:     I do not recall.    I believe it

 15     would be less than 100, but I do not recall.                  11:21:21

 16     BY MR. ROLFS:

 17        Q    Do you think that you sent the McCandless

 18     Group pitch deck outside of McCandless Group more

 19     than 50 times?

 20             MR. CHING:     Objection.   Calls for                 11:21:30

 21     speculation.

 22             You can answer if you know.

 23             THE WITNESS:     I do not recall.

 24     BY MR. ROLFS:

 25        Q    Can you give me any estimate whatsoever of            11:21:36

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  1     the amount of times that you have sent the

  2     McCandless Group pitch deck outside of McCandless

  3     Group?

  4        A     I -- I do not.     I do not know.

  5        Q     I'd like to go to the page that's Bates              11:21:50

  6     numbered, in rather small writing, unfortunately,

  7     McCandless 06982.

  8              This slide includes the tech stack for

  9     McCandless Group, correct?

 10        A     This tech stack indicates what software              11:22:28

 11     languages my team has experience with.

 12        Q     Is there any aspect of the tech stack of

 13     McCandless Group that you disclosed to Coy that is

 14     not listed on this slide?

 15              MR. CHING:     Objection.   Vague and ambiguous      11:22:48

 16     as to "tech stack."

 17              THE WITNESS:     I believe there is.

 18     BY MR. ROLFS:

 19        Q     What are those components?

 20              MR. CHING:     Objection.   Vague and ambiguous      11:23:04

 21     as to the term "components."

 22              THE WITNESS:     Can you define what you mean by

 23     "components"?

 24     BY MR. ROLFS:

 25        Q     I want to know if there's any information            11:23:14

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  1     that you disclosed to Coy about McCandless Group's

  2     tech stack that is not listed on this slide.              And if

  3     there is, please tell me that information.

  4             MR. CHING:     Objection.    Vague and ambiguous

  5     as to "tech stack."                                                  11:23:29

  6             THE WITNESS:     From what I recall, we -- in

  7     the tech stack sent to Coy, we covered the security

  8     of our technology, our payment processing, how we

  9     handle scalability.      I believe there was vendors and

 10     services in the tech stack specific to that tech                     11:23:53

 11     stack we have for influencers not listed here.              So

 12     there was elements.      I do not recall all of them.

 13     BY MR. ROLFS:

 14        Q    What vendors and services did you disclose to

 15     Coy that are not listed on this slide?                               11:24:12

 16        A    CCBill, which would be our payment processor.

 17     AWS.   MongoDB.   The flow of how all of our tech

 18     stack components flow together and integrate.              How

 19     we handle the security of our tech stack.          I believe

 20     there to be more, but that's what I'm recalling at                   11:25:31

 21     this moment.

 22        Q    What about the security of the McCandless

 23     Group tech stack did you disclose to Coy that is not

 24     listed on this slide?

 25        A    From what I recall, the technologies we used                 11:25:46

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  1     to ensure the security.

  2        Q    What technologies are you referring to?

  3        A    From what I recall, how we protect the

  4     content and who has access to the content.          But I do

  5     not fully recall.                                                11:26:21

  6        Q    What aspects of how McCandless Group protects

  7     its content did you disclose to Coy?

  8        A    At least what was in the tech stack.         I do

  9     not recall it all.

 10        Q    And when you refer to security, are you                  11:26:44

 11     referring to copyright protection?

 12        A    It consists of more than that, but that's a

 13     component.

 14        Q    What other components does security consist

 15     of other than copyright protection?                              11:27:09

 16        A    Protecting our -- protecting the content on

 17     the site itself.     Protecting our code.      Who has

 18     access to the content.     That's what I'm recalling

 19     right now.

 20        Q    When you refer to who has access to the                  11:27:43

 21     content, are you referring to the fact that one had

 22     to be a subscriber to access content on a McCandless

 23     Group website?

 24        A    That is correct.

 25        Q    You referred to something you disclosed to               11:27:58

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  1     Coy as the flow of how the tech stack fit together.

  2     I may be misstating that somewhat.

  3             Do you remember what I'm referring to?

  4        A    Yes, I do.

  5        Q    What flow are you referring to?                    11:28:31

  6        A    We had a diagram on the tech stack.

  7        Q    What did that diagram look like?

  8        A    From what I recall, there were circles with

  9     various different technologies and services, arrows

 10     pointing to how they all connected together, the           11:28:54

 11     flow of how it all works together.

 12        Q    When did you disclose that diagram to Coy?

 13        A    When I provided them with the tech stack.

 14        Q    Did you provide them with the tech stack on

 15     one or multiple occasions?                                 11:29:10

 16        A    I believe I provided it one time.

 17        Q    Are you referring to a document that is

 18     titled "Architecture of Technology"?

 19        A    I do not recall.

 20        Q    Is the diagram that you're referring to            11:29:30

 21     contained in the document that you disclosed at one

 22     time to Coy about the McCandless Group tech stack?

 23        A    From what I recall, yes.

 24             MR. ROLFS:   I'm going to ask the court

 25     reporter to please mark this as Exhibit 5.                 11:30:09

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  1              (Exhibit 5 was marked for identification and

  2        is attached hereto.)

  3     BY MR. ROLFS:

  4        Q     Do you recognize this document,

  5     Mr. McCandless?                                             11:30:39

  6        A     Yes, I do.

  7        Q     Is this an email that you sent to Gerry

  8     Libretti on December 7, 2020?

  9        A     That's what this document would show.

 10        Q     And you have no reason to doubt that you did,      11:31:11

 11     in fact, send this email to Mr. Libretti on

 12     December 7, 2020, correct?

 13        A     I don't believe so.

 14        Q     Do you remember who Gerry Libretti is?

 15        A     I do not recall.                                   11:31:31

 16        Q     You'll see on the CC line there's a name, Ben

 17     Cohen.

 18              Do you see that?

 19        A     I do.

 20        Q     Who is Ben Cohen, if you remember?                 11:31:47

 21        A     I do not recall.

 22        Q     Has McCandless Group ever had a

 23     confidentiality or nondisclosure agreement with

 24     Gerry Libretti or his company?

 25        A     I do not recall.                                   11:32:05

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  1        Q     You do not recall McCandless Group ever

  2     having a nondisclosure or confidentiality agreement

  3     with Gerry Libretti, correct?

  4              MR. CHING:     Objection.   Asked and answered.

  5              THE WITNESS:     I do not recall.                   11:32:21

  6     BY MR. ROLFS:

  7        Q     Did McCandless Group ever have a

  8     confidentiality or nondisclosure agreement with Ben

  9     Cohen or his company?

 10              MR. CHING:     Objection.   Asked and answered.     11:32:35

 11              THE WITNESS:     I do not recall.

 12     BY MR. ROLFS:

 13        Q     Please take a look at the attachment to this

 14     email.    And then once you've had a chance to review

 15     it, let me know if this is a version of the                  11:32:52

 16     McCandless Group pitch deck.

 17        A     Yes, it is.

 18        Q     I'd like you to please go to the page 9964.

 19     One of the things that's described on this page of

 20     the pitch deck is the security features offered by           11:33:48

 21     McCandless Group, correct?

 22              MR. CHING:     Objection.   Vague and ambiguous

 23     as to "described."

 24              THE WITNESS:     This states we have content

 25     protection.                                                  11:34:04

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  1     BY MR. ROLFS:

  2        Q    Is there any information about the content

  3     protection offered by McCandless Group that you

  4     disclosed to Coy that is not listed on this page?

  5        A    Yes, we did.                                        11:34:18

  6        Q    What information?

  7        A    From what I recall, we disclosed our

  8     watermark technology.      We discussed our DMCA notice

  9     process and how we issued DMCA notices.

 10             That's what I recall.                               11:34:49

 11        Q    Let's now skip ahead to page 9969.         And

 12     you'll see on this page there's a reference to:

 13                    "Our proprietary technology

 14             watermarks all content."

 15             Do you see that?                                    11:35:16

 16        A    Yes.

 17        Q    Is there anything that you disclosed about

 18     McCandless Group's watermarking technology that is

 19     not contained on this page?

 20        A    Yes.    They had access to see how our              11:35:33

 21     watermark technology appears on the content.

 22        Q    How did you give Coy that access?

 23        A    Through having access levels to see the

 24     content, they were able to see how the watermark

 25     appeared on the content.                                    11:35:59

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  1        Q      Isn't it true that any subscriber to any of

  2     the McCandless Group websites could see the

  3     watermark on any of the photos?

  4        A      They could, but not knowing what the purposes

  5     of it were for.                                                  11:36:13

  6        Q      You'll see at the bottom of this slide

  7     there's a reference to:

  8                    "Our DMCA team handles any and

  9               all copyright infringement to swiftly

 10               remove from any leaked content."                       11:36:27

 11               Do you see that?

 12        A      Yes, I do.

 13        Q      Is there any information about McCandless

 14     Group's DMCA practices that you disclosed to Coy

 15     that are not listed here on this slide?                          11:36:45

 16        A      I believe I disclosed to them the actual

 17     process in which our team handles it.

 18        Q      What process are you referring to?

 19        A      When content is leaked, we submit to three

 20     different sources to have the content removed.            We     11:37:22

 21     submit to the owner, the responsible party of the

 22     website directly.      We report it to the web hosting

 23     provider, and we also report it to the Google search

 24     engine.

 25        Q      Are there any aspects of McCandless Group's            11:37:40

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  1     DMCA practices other than what you just listed that

  2     you disclosed to Coy that is not contained on this

  3     slide at page 9969?

  4        A    I do not recall if there was anything else.

  5        Q    How did you disclose that additional                 11:38:10

  6     information that you just listed to Coy?

  7        A    I believe it was disclosed over a phone call,

  8     I believe.

  9        Q    When did that phone call occur?

 10        A    I do not recall, but it would have been              11:38:34

 11     sometime when we were in partnership.

 12        Q    Do you recall that there was a call on

 13     May 16th with Corey Lewis, Robert Hankins, and Josh

 14     that you had regarding Coy and McCandless Group?

 15        A    I do not recall a Josh.                              11:39:11

 16        Q    Do you recall a call that occurred on

 17     May 16th, 2020, with Corey Lewis and Robert Hankins?

 18        A    I do remember a call with Robert Hankins and

 19     Corey Lewis.   I do not remember the date.

 20        Q    Is the call that you disclosed these DMCA            11:39:36

 21     practices that call that you had with Robert Hankins

 22     and Corey Lewis?

 23             MR. CHING:     Objection.   Vague.

 24             You can answer if you understand.

 25             THE WITNESS:     I do not believe it was on that     11:39:55

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  1     phone call, no.

  2     BY MR. ROLFS:

  3        Q    Who was on the phone call that you disclosed

  4     these DMCA practices to Coy?

  5        A    I believe on that call would have been                 11:40:06

  6     Jessica Bartlett, possibly Corey Lewis and Thomas

  7     Drew.   I'm not a hundred percent sure.

  8        Q    And the call that we were just talking about

  9     with Robert Hankins, did that call happen before or

 10     after this other call that we're talking about where           11:40:32

 11     you disclosed the DMCA practices?

 12             MR. CHING:     Objection.     Vague.

 13             You can answer if you understand.

 14             THE WITNESS:     Sorry.     Can you rephrase that?

 15     BY MR. ROLFS:                                                  11:40:44

 16        Q    We've been discussing two calls.         There was

 17     one call that we discussed that you remember Robert

 18     Hankins was on, correct?

 19        A    That's correct.

 20        Q    And we've been discussing a second call where          11:40:54

 21     you remember disclosing some aspects of McCandless

 22     Group's DMCA practices, correct?

 23        A    That's correct.

 24        Q    Which of those calls was first?

 25        A    The one with Robert Hankins.                           11:41:06

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  1        Q     Approximately how long after the call with

  2     Robert Hankins was the second call that you remember

  3     disclosing DMCA practices?

  4        A     I believe it would have been several months

  5     later.                                                           11:41:28

  6        Q     Let's take a look at the page 9970.        And this

  7     page is entitled "Financials," correct?

  8        A     That is correct.

  9        Q     This page details aspects of McCandless

 10     Group's financial reporting for influencer sites,                11:42:01

 11     correct?

 12              MR. CHING:     Objection.   Vague.

 13              THE WITNESS:     Very broadly.   It doesn't

 14     really disclose much.

 15     BY MR. ROLFS:                                                    11:42:14

 16        Q     Are there any aspects of how McCandless Group

 17     reported influencer financial information that you

 18     disclosed to Coy that are not contained on this

 19     page?

 20        A     Yes.                                                    11:42:25

 21        Q     What are those aspects?

 22        A     From what I recall, how we calculate the

 23     money that gets paid out to influencers, how we

 24     handle our payment processing percentage.         How we

 25     handle chargebacks and refunds.        How we handle             11:42:46

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  1     distributing payments even on revenue we haven't

  2     collected from CCBill yet.      How we handle and manage

  3     the chargeback ratio.

  4             That is what I'm recalling at this time.

  5        Q    When you referred to how money is paid out to              11:43:20

  6     influencers, what are you referring to?

  7        A    In terms of how we calculate the amount of

  8     money that an influencer is paid based off of

  9     various factors.

 10        Q    What factors are you referring to?                         11:43:43

 11        A    Chargebacks, refunds, payment processing

 12     percentages.   And also the schedule of when we

 13     receive payments from our payment processor versus

 14     when we send them out.

 15        Q    I'd like you to try and remember in as much                11:44:07

 16     detail as possible what you told Coy about these

 17     details about how McCandless Group paid out

 18     influencers.   What exactly did you tell Coy?

 19        A    From what I recall, that we removed the

 20     payment processing percentage off of the top.            So we     11:44:36

 21     split payments after the payment processing

 22     percentage is taken.

 23             I remember disclosing that despite the

 24     schedule of when CCBill pays us, we pay out -- we up

 25     front money we haven't collected from our payment                  11:45:00

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  1     processor yet based upon the monthly earnings of

  2     that influencer.    Our subtraction of any chargebacks

  3     or refunds.

  4             That is what I recall at this time.

  5        Q    You referenced chargebacks or refunds.           Could     11:45:27

  6     you tell me exactly what you told Coy about

  7     McCandless Group's chargebacks and refunds?

  8        A    I'm not going to recall exactly.        I remember

  9     discussing our chargeback ratio, discussing why we

 10     don't accept certain countries related to                          11:45:55

 11     chargebacks.   I remember discussing the subtraction

 12     of chargebacks and refunds from what we pay out to

 13     influencers.   The importance of maintaining a low

 14     chargeback ratio and why.

 15             That is what I recall at this time.                        11:46:29

 16        Q    What is a chargeback ratio?

 17        A    A chargeback ratio is the number of

 18     chargebacks divided by the number of transactions.

 19        Q    What is a chargeback?

 20        A    A chargeback is when a customer goes to their              11:46:44

 21     bank or card provider and disputes the transaction.

 22        Q    So when a chargeback is made, that revenue

 23     might not actually come to McCandless Group,

 24     correct?

 25        A    It is typically subtracted at a later point.               11:47:00

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  1        Q     The higher the chargeback ratio, the less

  2     money McCandless Group makes, right?

  3        A     Not necessarily.     Because the chargeback

  4     ratio is based on transactions, not dollar amounts.

  5        Q     Is it ever better to have a higher chargeback     11:47:20

  6     ratio?

  7        A     It's never better, but you could have more

  8     money deducted on a lower chargeback ratio.

  9        Q     How could that occur?

 10        A     If you had chargebacks on smaller                 11:47:35

 11     transactions, but there was more of them versus less

 12     chargebacks on higher dollar amounts.

 13        Q     Isn't it true that you would always want to

 14     have the lowest chargeback ratio possible?

 15        A     That is what you would want, yes.                 11:47:57

 16        Q     It's pretty obvious, right?

 17              MR. CHING:     Objection.   Vague as to

 18     "obvious."    And also calls for speculation.

 19              THE WITNESS:     I wouldn't state that it's

 20     obvious.                                                   11:48:11

 21     BY MR. ROLFS:

 22        Q     Do you think it's complicated to reach the

 23     conclusion that having a low chargeback ratio is

 24     good?

 25              MR. CHING:     Same objections.                   11:48:24

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  1             THE WITNESS:     Understanding why a low

  2     chargeback ratio is important is not something that

  3     most people understand.

  4     BY MR. ROLFS:

  5        Q    Do you think there's anyone who runs a                11:48:49

  6     business that accepts payment processing that

  7     doesn't know that a low chargeback ratio is good?

  8             MR. CHING:     Objection.    Calls for a legal

  9     conclusion and vague.

 10             THE WITNESS:     If you have payment processing,      11:49:01

 11     your goal would be to have a lower chargeback ratio.

 12     BY MR. ROLFS:

 13        Q    And everyone who runs a business that uses

 14     payment processing would know that a low chargeback

 15     ratio is good, correct?                                       11:49:15

 16             MR. CHING:     Objection.    Vague.   Calls for a

 17     legal conclusion.

 18             THE WITNESS:     I wouldn't say that everyone

 19     knows that, no.

 20     BY MR. ROLFS:                                                 11:49:24

 21        Q    Would you say that at least half of the

 22     people who earn money from some aspect of online

 23     payment processing understand that having a low

 24     chargeback ratio is good?

 25             MR. CHING:     Same objections.                       11:49:36

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  1             THE WITNESS:       I would have no way of

  2     quantifying if it's over or below half.

  3     BY MR. ROLFS:

  4        Q    Wouldn't you agree that the majority of

  5     people who earn money from some aspect of online            11:50:07

  6     payment processing understand that a low chargeback

  7     ratio is good?

  8             MR. CHING:       Objection.   Calls for a legal

  9     conclusion.     Vague.

 10             THE WITNESS:       If they understand what a        11:50:24

 11     chargeback is and they're involved in the details of

 12     the finances, they would conclude that more than

 13     likely, yes.

 14             MR. ROLFS:       I'd like to ask the court

 15     reporter to mark this as Exhibit 6.                         11:50:40

 16             (Exhibit 6 was marked for identification and

 17        is attached hereto.)

 18     BY MR. ROLFS:

 19        Q    Do you recognize this document,

 20     Mr. McCandless?                                             11:51:08

 21        A    In terms of the deck?

 22        Q    Is this an email that you sent on October 31,

 23     2020, to the email address kaleyokelley@hotmail.com

 24     attaching the McCandless Group pitch deck?

 25        A    That's what this document states.                   11:51:24

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  1        Q    Do you have any reason to doubt that you, in

  2     fact, sent this email?

  3        A    I do not.

  4        Q    Has McCandless Group ever had a nondisclosure

  5     or confidentiality agreement with Kayley O'Kelley?          11:51:41

  6        A    I do not recall.

  7        Q    You do not recall McCandless Group ever

  8     having a confidentiality or nondisclosure agreement

  9     with Kayley O'Kelley, correct?

 10             MR. CHING:     Asked and answered.                  11:52:02

 11             THE WITNESS:     I do not recall.

 12             MR. ROLFS:     I'm going to ask the court

 13     reporter to mark this as Exhibit 7.

 14             (Exhibit 7 was marked for identification and

 15        is attached hereto.)                                     11:53:05

 16     BY MR. ROLFS:

 17        Q    Do you recognize this document,

 18     Mr. McCandless?

 19        A    Roughly, I do.

 20        Q    Is this an email that you sent to Dante             11:53:16

 21     Deiana on October 2, 2022, attaching the McCandless

 22     Group pitch deck?

 23        A    That is what this document states.

 24        Q    Do you have any reason to doubt that you, in

 25     fact, sent this email?                                      11:53:34

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  1        A    I do not.

  2        Q    Does McCandless Group have a nondisclosure or

  3     confidentiality agreement with Dante Deiana?

  4        A    I do not recall.

  5        Q    Have you ever asked anyone you sent the            11:53:56

  6     McCandless Group pitch deck to to execute a

  7     nondisclosure or confidentiality agreement before

  8     you sent them the pitch deck?

  9             MR. CHING:     Objection.   Vague.

 10             THE WITNESS:     I do not recall.                  11:54:30

 11     BY MR. ROLFS:

 12        Q    You do not recall a single instance where you

 13     asked someone to sign a nondisclosure or

 14     confidentiality agreement before you sent them the

 15     McCandless Group pitch deck, correct?                      11:54:42

 16             MR. CHING:     Objection.   Vague.   Calls for

 17     speculation.    Asked and answered.

 18             THE WITNESS:     I do not recall.

 19     BY MR. ROLFS:

 20        Q    McCandless Group runs a website for Lindsay        11:55:23

 21     Brewer, correct?

 22        A    That is correct.

 23             MR. ROLFS:     I'm going to ask the court

 24     reporter to mark this as Exhibit 8.

 25     ////

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  1             (Exhibit 8 was marked for identification and

  2        is attached hereto.)

  3     BY MR. ROLFS:

  4        Q    This is a screenshot of the main page from

  5     Lindsay Brewer's website built by McCandless Group,           11:56:01

  6     correct?

  7        A    That's correct.

  8        Q    Anyone who visited this website could see

  9     that the website offered exclusive content, correct?

 10        A    That's what it states, yes.                           11:56:22

 11        Q    Anyone who visited this website could see

 12     that the website offered a private chat feature,

 13     correct?

 14        A    That is correct.

 15        Q    Anyone who visited this website could see             11:56:35

 16     that it offered a tips feature, correct?

 17        A    That is correct.

 18        Q    Anyone who visited this website could see

 19     that it offered a paywall feature by virtue of the

 20     login, correct?                                               11:56:56

 21             MR. CHING:     Objection.    Vague as to "paywall

 22     feature."

 23             You can answer if you know.

 24             THE WITNESS:     The login would not necessarily

 25     indicate there's a paywall.                                   11:57:14

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  1     BY MR. ROLFS:

  2        Q    Do you think there is anyone who could -- who

  3     would visit the Lindsay Brewer website with some

  4     knowledge of web development who would not realize

  5     that there was a paywall on this website?                         11:57:23

  6        A    If they dug through it, they would see there

  7     was a paywall.

  8        Q    And when you say "dug through it," you don't

  9     mean access any code, correct?        You just mean look

 10     through the public portion of the website?                        11:57:53

 11             MR. CHING:     Objection.    Vague.

 12             THE WITNESS:     If they went through the

 13     website, they would see there was a paywall.

 14             MR. ROLFS:     I'm going to ask the court

 15     reporter to mark this as Exhibit 8 -- Exhibit 9.           My     11:58:25

 16     apologies.     Exhibit 9.

 17             (Exhibit 9 was marked for identification and

 18        is attached hereto.)

 19     BY MR. ROLFS:

 20        Q    This is the FAQ page from Lindsay Brewer's                11:58:50

 21     website built by McCandless Group, correct?

 22        A    That is correct.

 23        Q    Is this the standard FAQ language that

 24     McCandless Group uses for its influencer websites?

 25        A    Yes.                                                      11:59:10

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  1        Q      You'll see under "How do I cancel the

  2     subscription?":

  3                    "If you would like to cancel your

  4               subscription from rebilling, please go

  5               to your profile page and press the                11:59:23

  6               Cancel Subscription button or you may

  7               contact CCBill's consumer support

  8               department at

  9               https://support.CCBill.com."

 10               Do you see that?                                  11:59:39

 11        A      Yes, I do.

 12        Q      At the bottom of the website, you see there's

 13     a reference to "Powered by McCandless Group,"

 14     correct?

 15        A      Yes, I do.                                        11:59:51

 16        Q      Do all of the pages -- strike that.

 17               Do all of the FAQ pages for influencers built

 18     by McCandless Group say "Powered by McCandless

 19     Group"?

 20        A      Yes, they do.                                     12:00:05

 21        Q      Do all of the FAQ pages for influencer

 22     websites built by McCandless Group direct people to

 23     contact CCBill's consumer support department?

 24        A      From what I recall, yes.

 25        Q      Anyone who visited the FAQ page for a             12:00:22

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  1     McCandless Group influencer site would know that

  2     McCandless Group uses CCBill, correct?

  3              MR. CHING:     Objection.   Vague.

  4              THE WITNESS:     They would know we use CCBill.

  5     They would not understand why.                                12:00:39

  6              MR. ROLFS:     I think now is a good time for a

  7     break.

  8              THE VIDEOGRAPHER:     The time is 12:00 p.m.

  9     We're off the record.

 10              (Lunch recess.)                                      12:01:21

 11              THE VIDEOGRAPHER:     The time is 12:48 p.m.

 12     We're back on record.

 13     BY MR. ROLFS:

 14        Q     Mr. McCandless, you contend that you

 15     disclosed some of the McCandless Group's trade                12:48:32

 16     secrets to Coy on a May 16, 2020 call, correct?

 17              MR. CHING:     Calls for a legal conclusion.

 18              You can answer.

 19              THE WITNESS:     I don't recall it was disclosed

 20     on that call.                                                 12:48:49

 21              MR. ROLFS:     I'm going to mark this exhibit as

 22     Exhibit 10.

 23              (Exhibit 10 was marked for identification and

 24        is attached hereto.)

 25     ////

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  1     BY MR. ROLFS:

  2        Q    Have you seen this document before,

  3     Mr. McCandless?

  4        A    Yes, I have.

  5        Q    These are the McCandless Group LLC's                 12:49:38

  6     Supplemental Responses to Interrogatories From

  7     Counterclaimant The Coy Collective, Inc., correct?

  8        A    That's what it states.

  9        Q    Could you please go to the second to last

 10     page.                                                        12:49:55

 11             Is that your signature on the verification

 12     page?

 13        A    Yes, it is.

 14        Q    You verified these responses under penalty of

 15     perjury, correct?                                            12:50:12

 16        A    Yes.

 17        Q    You did your best to respond to these

 18     interrogatories truthfully, correct?

 19        A    Correct.

 20        Q    I'd like you to please go to page 10.                12:50:22

 21             Do you see Interrogatory No. 6 asks:

 22                    "Identify all communications from

 23             you to Coy containing any trade secret

 24             you contend was misappropriated in

 25             your complaint."                                     12:50:53

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  1             Do you see that?

  2        A    Yes, I do.

  3        Q    Now, if you'll look in the second paragraph

  4     of the response, the second sentence says:

  5                   "On May 16, 2020, Nick and Lewis                     12:51:06

  6             had a phone call discussing use of

  7             high-risk payment processors."

  8             Do you see that?

  9        A    Yes, I do.

 10        Q    You disclosed McCandless Group's trade                     12:51:18

 11     secrets on May 16, 2020, to Lewis on this phone

 12     call, correct?

 13        A    I do not recall everything we discussed about

 14     high-risk payment processors on that call.            It was a

 15     discussion.    What we discussed on that call about                12:51:46

 16     it, I don't remember.

 17        Q    My question was a little bit different,

 18     because the interrogatory question asks you about

 19     trade secrets, correct?

 20        A    Correct.                                                   12:51:58

 21        Q    The information you disclosed on the May 16,

 22     2020 call included McCandless Group's trade secrets,

 23     correct?

 24             MR. CHING:     Objection.     Rifkind.

 25             You can answer.                                            12:52:14

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  1             THE WITNESS:     I do not recall.

  2     BY MR. ROLFS:

  3        Q    You were asked in this interrogatory to

  4     identify communications from you to Coy containing

  5     trade secrets, correct?                                    12:52:38

  6        A    That is correct.

  7        Q    You identified a May 16, 2020 call, correct?

  8        A    That is correct.

  9        Q    You were trying to answer these questions

 10     honestly, correct?                                         12:52:46

 11        A    That is correct.

 12        Q    On May 16, 2020, you believe that you

 13     disclosed trade secrets to Lewis on a phone call,

 14     correct?

 15        A    I could have, yes.                                 12:53:04

 16        Q    When you verified these interrogatories, you

 17     believed that you disclosed trade secrets to Lewis

 18     on a May 16, 2020 call, correct?

 19             MR. CHING:     Objection.   Rifkind.

 20             You can answer.                                    12:53:23

 21             THE WITNESS:     I believe so.

 22     BY MR. ROLFS:

 23        Q    How long was that call?

 24        A    I do not recall.

 25        Q    Who was on the call?                               12:53:33

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  1        A    According to this, Lewis.      I do not recall

  2     anyone else being on it.

  3        Q    Do you remember if the call was more or less

  4     than an hour?

  5        A    I do not recall.                                   12:53:48

  6        Q    Do you remember it being a fairly long call?

  7             MR. CHING:     Objection.   Vague.

  8             THE WITNESS:     I do not recall.

  9     BY MR. ROLFS:

 10        Q    Did you discuss CCBill on this call?               12:54:06

 11        A    If we discussed high-risk payment processors,

 12     it's a possibility.

 13        Q    Is there any other high-risk payment

 14     processor you would have discussed with Mr. Lewis on

 15     this phone call?                                           12:54:27

 16        A    I do not recall.

 17        Q    Do you recall what you told Mr. Lewis about

 18     high-risk payment processors on this May 16, 2020

 19     call?

 20        A    I do not recall.                                   12:54:47

 21        Q    Do you remember disclosing anything else

 22     about McCandless Group's business other than

 23     high-risk payment processors on this call?

 24        A    I do not recall.

 25        Q    Can you tell me anything at all, other than        12:55:08

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  1     that the call involved high-risk payment processors,

  2     about what you told Mr. Lewis on this call?

  3        A    No.   There's nothing else.

  4        Q    Just to clarify, there's nothing else that

  5     you remember or do you specifically remember that          12:55:30

  6     you only discussed high-risk payment processors?

  7        A    I do not remember discussing anything else

  8     besides high-risk payment processors.

  9        Q    What, if anything, do you remember that you

 10     told Mr. Lewis about high-risk payment processors?         12:55:50

 11        A    I do not recall.

 12        Q    Mr. Lewis had not signed a confidentiality

 13     agreement with McCandless Group at the time of this

 14     call, correct?

 15        A    I do not recall.                                   12:56:11

 16             MR. ROLFS:   I'm going to mark this as

 17     Exhibit 11.

 18             (Exhibit 11 was marked for identification and

 19        is attached hereto.)

 20     BY MR. ROLFS:                                              12:57:21

 21        Q    Do you recognize this document?

 22        A    Yes, I do.

 23        Q    This is the nondisclosure agreement that you

 24     sent to Mr. Lewis on May 20th, 2020, correct?

 25        A    That is what this indicates, yes.                  12:57:38

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  1        Q    Mr. Lewis had not signed a nondisclosure

  2     agreement at the time of the May 16, 2020 call,

  3     correct?

  4        A    That's what this would indicate.

  5        Q    Do you have any reason to doubt that               12:57:54

  6     Mr. Lewis had not, in fact, signed a nondisclosure

  7     agreement at the time of the May 16, 2020 call?

  8        A    No.

  9        Q    Do you recall that Mr. Rob Hankins was also

 10     on that May 16, 2020, call?                                12:58:18

 11             MR. CHING:     Objection.   Foundation.

 12             You can answer if you know.

 13             THE WITNESS:     I do not recall.

 14     BY MR. ROLFS:

 15        Q    Do you remember that he wasn't or do you not       12:58:29

 16     remember one way or the other?

 17        A    I don't recall one way or the other.

 18        Q    Do you remember that an individual named Josh

 19     Chery was on that call?

 20             MR. CHING:     Objection.   Foundation.            12:58:53

 21             You can answer if you know.

 22             THE WITNESS:     I do not recall.

 23     BY MR. ROLFS:

 24        Q    Has McCandless Group ever had a

 25     confidentiality or nondisclosure agreement with Josh       12:59:03

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  1     Chery?

  2        A      I do not recall.

  3        Q      You disclosed McCandless Group's trade

  4     secrets to Mr. Corey Lewis on a May 16, 2020 call

  5     prior to Mr. Lewis executing a confidentiality                 12:59:26

  6     agreement, correct?

  7               MR. CHING:     Objection.   Calls for a legal

  8     conclusion.     And calls for speculation.

  9               You can answer if you know.

 10               THE WITNESS:     I don't recall what information     12:59:37

 11     I gave them about high-risk payment processors.

 12               MR. ROLFS:     I'm going to have the court

 13     reporter mark this as Exhibit 12.

 14               (Exhibit 12 was marked for identification and

 15        is attached hereto.)                                        01:00:52

 16     BY MR. ROLFS:

 17        Q      Do you recognize this document,

 18     Mr. McCandless?

 19        A      I do not recall, but it has my name on it.

 20        Q      Do you have any reason to doubt that you sent        01:01:03

 21     this May 27, 2020 email to Melissa Mugridge and Jeff

 22     Duncan?

 23        A      No.

 24        Q      Do you remember who Melissa Mugridge is?

 25        A      I do not recall.                                     01:01:21

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  1        Q      Do you remember who Jeff Duncan is?

  2        A      I believe Jeff Duncan was the manager of

  3     Francesca Farago.

  4        Q      Who is Francesca Farago?

  5        A      She was a client of McCandless Group.             01:01:46

  6        Q      When was Francesca Farago a client of

  7     McCandless Group?

  8        A      I believe at some point in 2020.

  9        Q      Did you send this email to Jeff Duncan to try

 10     to pitch him and his client, Francesca Farago, on           01:02:10

 11     using McCandless Group to create a website?

 12        A      It was used for pitching Francesca Farago.

 13        Q      At the time you sent this email, Francesco

 14     Farago was not yet a McCandless Group client,

 15     correct?                                                    01:02:35

 16        A      I do not recall if she was signed before this

 17     or not.

 18        Q      In this email, you're providing Melissa

 19     Mugridge and Jeff Duncan a subscriber login to

 20     Jessica M. Bartlett's McCandless Group website,             01:03:17

 21     correct?

 22        A      That is what it appears, yes.

 23        Q      Did you ask Melissa Mugridge to sign a

 24     confidentiality or nondisclosure agreement with

 25     McCandless Group before you sent this information?          01:03:36

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  1        A     I do not recall.

  2        Q     Did you ask Mr. Jeff Duncan to sign a

  3     confidentiality or nondisclosure agreement with

  4     McCandless Group before you sent this email?

  5        A     I do not recall.                                      01:03:53

  6        Q     Have you provided subscriber login

  7     credentials to models and their representatives to

  8     try to pitch them on building a McCandless Group

  9     website?

 10        A     I may have.     I do not recall.                      01:04:18

 11        Q     Do you remember ever asking for someone to

 12     sign a confidentiality or nondisclosure agreement

 13     before you sent them a subscriber login for one of

 14     the McCandless Group websites?

 15              MR. CHING:     Objection.   Vague.                    01:04:55

 16              THE WITNESS:     I do not recall.

 17     BY MR. ROLFS:

 18        Q     If you please look at the attachment to this

 19     email.     Could you tell me what this attachment

 20     consists of?                                                   01:05:19

 21        A     Which attachment specifically?

 22        Q     Are there different -- well, scratch that.

 23              Let's look at pages 5476 and 5477.        What do

 24     those pages show?

 25        A     This shows the chat component of the site.            01:06:17

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  1        Q    This shows the chat component of the

  2     McCandless Group website, correct?

  3        A    Correct.     This would show what a

  4     conversation -- a one-on-one conversation would look

  5     like.                                                        01:06:42

  6        Q    Now, let's look at pages 5478 through 5479.

  7             What do these pages show?

  8        A    This is showing boxes where a model's

  9     earnings would show.

 10        Q    These pages depict the financial reporting           01:07:11

 11     system that models see for the McCandless Group

 12     websites, correct?

 13        A    That a model would see, yes.

 14             MR. ROLFS:     I'm going to ask the court

 15     reporter to mark this as Exhibit 13.                         01:07:53

 16             (Exhibit 13 was marked for identification and

 17        is attached hereto.)

 18     BY MR. ROLFS:

 19        Q    Do you recognize this text message chain,

 20     Mr. McCandless?                                              01:08:19

 21        A    I don't recall these messages, but it has my

 22     name.

 23        Q    Do you have any reason to doubt that this is

 24     a text message chain between you and Jessica

 25     Bartlett?                                                    01:08:40

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  1        A      No.

  2        Q      If you look at the first text message in the

  3     chain, it's from you, and it says:

  4                     "Here is subscriber account for

  5               Corey, testsub@gmail.com,                            01:08:49

  6               test@123!sub."

  7               Do you see that?

  8        A      Yes, I do.

  9        Q      You were providing Mr. Corey Lewis a

 10     subscriber account in this text message chain,                 01:09:04

 11     correct?

 12        A      This was sent to Jessica Bartlett.

 13        Q      Do you see it says:

 14                     "Here is a subscriber account for

 15               Corey"?                                              01:09:18

 16        A      I do see that.

 17        Q      You were sending Jessica Bartlett a

 18     subscriber account for Corey Lewis, correct?

 19        A      That's what the text says.

 20        Q      Do you have any reason to doubt that what the        01:09:32

 21     text says is accurate, that you were sending a

 22     subscriber account to Corey Lewis through Jessica

 23     Bartlett?

 24               MR. CHING:    Objection.     Document speaks for

 25     itself.                                                        01:09:45

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  1             THE WITNESS:     That's what the text says.

  2     BY MR. ROLFS:

  3        Q    Do you have any reason to doubt that the text

  4     is accurate?

  5        A    I don't.                                                  01:09:54

  6        Q    Mr. Corey Lewis had not signed the

  7     confidentiality agreement with McCandless Group on

  8     May 11, 2020, when you sent this text message,

  9     correct?

 10        A    I believe that to be correct.                             01:10:13

 11             MR. ROLFS:     I'm going to ask the court

 12     reporter to please mark this as Exhibit 14.

 13             (Exhibit 14 was marked for identification and

 14        is attached hereto.)

 15     BY MR. ROLFS:                                                     01:11:03

 16        Q    Do you recognize this document,

 17     Mr. McCandless?

 18        A    I briefly recall this, yes.

 19        Q    This is a text message chain between you and

 20     Ms. Jessica Bartlett, correct?                                    01:11:40

 21        A    That is correct.

 22        Q    Could you please go to page 3125.          You'll see

 23     the third text message down from you says:

 24                    "For the person who will be

 25             managing the site for you, what email                     01:12:11

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  1             would you like to use for their

  2             login?"

  3             Do you see that?

  4        A    Yes.

  5        Q    And you'll see two text messages down,                   01:12:20

  6     Ms. Jessica Bartlett provides an email for Jay

  7     Laurent, correct?

  8        A    Yes.

  9        Q    Did you provide Mr. Jay Laurent with a login

 10     for Jessica Bartlett's site?                                     01:12:43

 11        A    I do not recall.

 12             MR. ROLFS:    I'm going to ask the court

 13     reporter to mark this as Exhibit 15.

 14             (Exhibit 15 was marked for identification and

 15        is attached hereto.)                                          01:13:40

 16     BY MR. ROLFS:

 17        Q    Do you recognize this document,

 18     Mr. McCandless?

 19        A    I don't recall the conversation, but it's got

 20     my name.                                                         01:14:01

 21        Q    Do you have any reason to doubt that this is

 22     a text message chain between you and Jessica

 23     Bartlett?

 24        A    I do not.

 25        Q    If you could please go to page 3144.          Do you     01:14:12

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  1     see the two text messages in blue from you provide

  2     the first one, JayLaurentOfficial@gmail.com, and the

  3     second one is a string of numbers and symbols --

  4     letters and symbols.        Does that help refresh your

  5     recollection that you provided Mr. Jay Laurent with           01:14:45

  6     a login for Jessica Bartlett's site?

  7        A      That's how it appears, yes.

  8        Q      Does McCandless Group use different levels of

  9     access for its websites?

 10        A      Yes, we do.                                         01:15:05

 11        Q      Is one of those levels subscriber-level

 12     access?

 13        A      Yes.

 14        Q      Is one of those creator-level access?

 15        A      Yes.                                                01:15:16

 16        Q      Are there any others?

 17        A      Yes.    We have a content manager access, as

 18     well as an admin access.

 19        Q      What kind of access did you grant Mr. Jay

 20     Laurent?                                                      01:15:36

 21        A      I do not recall.

 22        Q      If you could please go back to Exhibit 14 and

 23     look at page 3125.       And do you see the second blue

 24     text message from you asks:

 25                      "For the person who will be                  01:16:29

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  1             managing the site for you, what email

  2             would you like to use for their

  3             login?"

  4             Jessica Bartlett responds two text messages

  5     later, "Jay Laurent," correct?                              01:16:39

  6        A    That's correct.

  7        Q    What kind of access would you have granted

  8     someone who would be managing a site for a model?

  9        A    I do not recall at this time.

 10        Q    It wouldn't have been subscriber-level              01:17:04

 11     access, though, correct?

 12             MR. CHING:     Objection.    Calls for

 13     speculation.

 14             You can answer if you know.

 15             THE WITNESS:     It would not have been             01:17:15

 16     subscriber access.

 17     BY MR. ROLFS:

 18        Q    The access you granted Jay Laurent would

 19     either have been creator-level access or

 20     content-manager-level access, correct?                      01:17:25

 21             MR. CHING:     Objection.    Calls for

 22     speculation.

 23             THE WITNESS:     I believe so.

 24     BY MR. ROLFS:

 25        Q    What features can someone with creator-level        01:17:39

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  1     access access on a McCandless Group website?

  2        A    During this time, what I recall is ability to

  3     post content, manage the chat, and see the

  4     reporting.

  5        Q    And when you say "see the reporting," are you      01:18:08

  6     referring to the financial reporting showing the

  7     performance of the site?

  8        A    Seeing their earnings, yes, for a creator.

  9        Q    What was different, if anything, about the

 10     level of access that a content manager login would         01:18:25

 11     provide?

 12        A    From what I recall, a content manager would

 13     not show their earnings they're reporting.

 14        Q    Does McCandless Group have a nondisclosure or

 15     confidentiality agreement with Jay Laurent?                01:18:53

 16        A    I do not recall.

 17        Q    How did McCandless Group's DMCA takedown

 18     service work in 2020?

 19        A    From what I recall in 2020, if we found

 20     content was leaked or if we were informed that             01:19:31

 21     content was leaked, we would report it to the source

 22     where the content is, to the web hosting provider,

 23     and to the Google search engine.

 24        Q    How did McCandless Group go about trying to

 25     find infringing content?                                   01:20:03

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  1        A      We would search on the behalf of our clients.

  2        Q      What would McCandless Group use to search for

  3     infringing content?

  4        A      Search engines.      Popular sources where leaked

  5     content would appear.                                                01:20:27

  6        Q      What search engines did McCandless Group use

  7     to look for infringing content?

  8        A      Primarily Google.

  9        Q      What popular sources would McCandless Group

 10     check to look for infringing content?                                01:20:50

 11               MR. CHING:     Objection.     Vague as to

 12     "popular."

 13               THE WITNESS:     The most common one I recall is

 14     Reddit.

 15     BY MR. ROLFS:                                                        01:21:01

 16        Q      Do you recall any other sources that

 17     McCandless Group would check for infringing content?

 18        A      Instagram.     There's various forum sites.        I'm

 19     not recalling all of them.

 20        Q      Tell me all of them that you can recall.                   01:21:32

 21        A      Twitter.     Google Images.     That's what I

 22     recall.

 23        Q      How did McCandless Group use the search

 24     engine Google to look for infringing content?

 25        A      Through various search terms that we                       01:22:26

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  1     discovered leaked content would typically appear.

  2        Q    What kind of search terms would those be?

  3        A    We would put the client's name in parentheses

  4     for direct match and then search common key terms

  5     like "leaked," "nude," "OnlyFans," and other search        01:22:58

  6     terms that would relate to the nature of the

  7     content.

  8        Q    Who at McCandless Group was responsible for

  9     looking for leaked infringing content?

 10        A    I do not recall at this time, during this          01:23:22

 11     time.

 12        Q    Did McCandless Group hire any employees in

 13     2020 -- scratch that.

 14             Did McCandless Group have any employees in

 15     2020 who were responsible for searching for                01:23:46

 16     infringing content?

 17        A    I'm not recalling.

 18        Q    Did McCandless Group contract with anyone who

 19     is not an employee to search for infringing content

 20     in 2020?                                                   01:24:13

 21        A    I do not believe so.

 22        Q    Were there individuals working for McCandless

 23     Group in 2020 whose job it was to search for

 24     infringing content?

 25        A    I believe so, but I'm not a hundred percent        01:24:35

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  1     sure.

  2        Q    Do you recall the names of anyone McCandless

  3     Group has used to search for infringing content?

  4             MR. CHING:     Objection.   Vague as to time.

  5             THE WITNESS:     During what time period?              01:25:05

  6     BY MR. ROLFS:

  7        Q    Any time period.

  8        A    I've had people on my team search for

  9     content -- sorry.      What was the question again?

 10        Q    I was asking if you can give me the names of           01:25:23

 11     any of the people McCandless Group has used at any

 12     time to search for infringing content?

 13        A    From what I recall, I have had Connor search

 14     for content, I have searched for content, my clients

 15     have searched for their own content.        I have someone     01:25:51

 16     on my team now who actively searches for content.

 17     His name is just escaping me this second.         And the

 18     people that were running chat portions of my

 19     clients' sites would also inform me of content that

 20     was leaked to shut down.                                       01:26:25

 21        Q    Were the people who ran the chat portions

 22     actively searching for infringing content?

 23        A    I'm not recalling during this time.

 24        Q    Can you think of anyone else besides Connor

 25     McCandless, yourself, clients, and the people who              01:26:49

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  1     ran the chat portions of McCandless Group who

  2     McCandless Group has used to search for infringing

  3     content?

  4        A      Yes.   I have someone right now that handles

  5     that for us as his full responsibility.                            01:27:11

  6        Q      When did that individual start working for

  7     McCandless Group?

  8        A      I do not -- I do not recall.

  9        Q      Do you remember approximately what year that

 10     person started working for McCandless Group?                       01:27:33

 11        A      I'm not recalling.

 12        Q      Was that person working for McCandless Group

 13     in 2020?

 14        A      I do not recall.

 15               MR. CHING:   Do you want to take five minutes?           01:27:55

 16               MR. ROLFS:   Sure.

 17               THE VIDEOGRAPHER:    The time is 1:27 p.m.       Off

 18     record.

 19               (Recess.)

 20               THE VIDEOGRAPHER:    The time is 1:34 p.m.               01:34:36

 21     We're back on record.

 22     BY MR. ROLFS:

 23        Q      Mr. McCandless, before the break we were

 24     discussing an individual whose name you can't recall

 25     who helps identify infringing content for McCandless               01:34:50

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  1     Group, correct?

  2        A    That is correct.

  3        Q    Are you able to remember his name now or you

  4     still can't recall?

  5        A    It's -- it starts with a T.        Taras, something     01:35:06

  6     like that.     It's a foreign name.

  7        Q    Is Taras an employee of McCandless Group?

  8        A    He is not an employee, no.

  9        Q    Is Taras an independent contractor of

 10     McCandless Group?                                               01:35:36

 11        A    Yes.

 12        Q    Is McCandless Group's contract with Taras

 13     personally or is it with a company that Taras works

 14     for?

 15        A    From what I recall, it's with him personally.           01:35:53

 16        Q    Is there any confidentiality or nondisclosure

 17     agreement between Taras and McCandless Group?

 18        A    I believe so, but I'm not a hundred percent

 19     positive.

 20        Q    What can you tell me about this contract that           01:36:16

 21     you believe exists with Taras?

 22        A    It would be the normal contract we use that

 23     would include nondisclosure, confidentiality

 24     provisions.     It could have had noncompete

 25     provisions.     That's what I recall it would have              01:36:52

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  1     been.

  2        Q    You just referred to a normal contract.          What

  3     are you referring to?

  4        A    What I'm referring to is a nondisclosure

  5     agreement that we would send.                                     01:37:07

  6        Q    Is that the same nondisclosure agreement that

  7     you sent to Corey Lewis?

  8        A    I do not recall if it was the same.

  9        Q    Would it have been a similar nondisclosure

 10     agreement?                                                        01:37:29

 11             MR. CHING:     Vague as to "similar."

 12             You can answer.

 13             THE WITNESS:     I do not recall.

 14     BY MR. ROLFS:

 15        Q    Does McCandless Group have a confidentiality              01:37:41

 16     or nondisclosure agreement with Connor McCandless?

 17        A    We have an independent contractor agreement

 18     that has nondisclosure provisions.

 19        Q    Connor McCandless is an independent

 20     contractor of McCandless Group?                                   01:38:02

 21        A    That is correct.

 22        Q    How long has Connor McCandless been an

 23     independent contractor of McCandless Group?

 24        A    I do not recall exactly.      I do not recall

 25     exactly.                                                          01:38:33

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  1     McCandless Group offering to potential clients?

  2             MR. CHING:     Objection.   Vague.

  3             You can answer.

  4             THE WITNESS:     We offer different revenue

  5     share percentages to influencers based upon the            01:41:12

  6     potential we saw in them.

  7     BY MR. ROLFS:

  8        Q    What different revenue share options did

  9     McCandless Group offer in 2020 depending on the

 10     following of the influencer?                               01:41:27

 11        A    In terms of what exactly?

 12        Q    What different revenue share options did

 13     McCandless Group offer in 2020?

 14        A    We would have different revenue share

 15     percentages in terms of what they kept versus what         01:41:51

 16     we kept.

 17        Q    How did you decide what revenue share to

 18     offer a potential client?

 19        A    By analyzing the performance of who we would

 20     be signing, reviewing their social media accounts to       01:42:08

 21     look at their following, their engagement, and based

 22     upon the data we had on similar clients, have an

 23     understanding of how well they would perform.

 24     Therefore, that would determine what percentage we

 25     would offer.                                               01:42:26

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  1        Q    Who made the decision, after reviewing the

  2     data you just described, of what percentage to offer

  3     an influencer?

  4        A    On most deals it was me.

  5        Q    Were there any particular rules you followed         01:42:40

  6     in determining what revenue share percentage to

  7     offer a client based on the data you reviewed?

  8             MR. CHING:     Objection.   Vague as to "rules."

  9             THE WITNESS:     What do you mean by "rules"?

 10     BY MR. ROLFS:                                                01:43:12

 11        Q    I'm asking if there is any criteria that you

 12     could tell me that you used to decide, based on the

 13     data that you reviewed, what revenue share

 14     percentage to offer a model?

 15             MR. CHING:     Objection.   Vague.                   01:43:29

 16             THE WITNESS:     We would look at their

 17     following, their engagement, compare them to other

 18     clients we have and how they're performing to

 19     determine what percentage we would offer.

 20     BY MR. ROLFS:                                                01:43:41

 21        Q    Were there any rules you followed that you

 22     applied to that data in order to decide what revenue

 23     share to offer a model?

 24             MR. CHING:     Objection.   Vague.

 25             THE WITNESS:     Again, what do you mean by          01:43:54

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  1     "rules"?

  2     BY MR. ROLFS:

  3        Q    Did you have any rule that you would offer a

  4     particular revenue share based on a particular

  5     number of, say, Instagram followers?                             01:44:11

  6             MR. CHING:     Objection.   Vague.

  7             You can answer if you know.

  8             THE WITNESS:     We would look at followers,

  9     their engagement, and the quality of their audience,

 10     look at the data we have from similar clients.           And     01:44:28

 11     typically the higher their earning potential, we

 12     would offer a more favorable revenue share to them.

 13     BY MR. ROLFS:

 14        Q    Was the ultimate decision of what revenue

 15     share to offer based on that criteria yours?                     01:44:44

 16             MR. CHING:     Objection.   Asked and answered.

 17             THE WITNESS:     Can you rephrase that question?

 18     BY MR. ROLFS:

 19        Q    Were you the ultimate decisionmaker in

 20     deciding what revenue share to offer a model based               01:45:02

 21     on the consideration of all the data you just

 22     described?

 23             MR. CHING:     Objection.   Asked and answered.

 24             THE WITNESS:     Yes, I was.

 25     ////

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  1     BY MR. ROLFS:

  2        Q    You didn't apply any written rules in

  3     deciding what revenue share to offer a model based

  4     upon your analysis of the data we just described,

  5     correct?                                                    01:45:32

  6             MR. CHING:     Objection.    Vague.

  7             You can answer if you know.

  8             THE WITNESS:     I do not recall if I had

  9     written rules.

 10     BY MR. ROLFS:                                               01:45:41

 11        Q    You made a judgment call, based on reviewing

 12     all the data, about what revenue share to offer a

 13     model, correct?

 14             MR. CHING:     Objection.    Vague.

 15             You can answer if you understand.                   01:45:53

 16             THE WITNESS:     Can you rephrase that?

 17     BY MR. ROLFS:

 18        Q    Do you know what a judgment call is,

 19     Mr. McCandless?

 20        A    Yes, I know what a judgment call is.                01:46:00

 21        Q    Did you make a judgment call, based on all of

 22     the data you considered, in deciding what revenue

 23     share to offer a model?

 24        A    Yes, I did.

 25             MR. ROLFS:     I'm going to ask the court           01:46:42

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  1     reporter to mark this as Exhibit 16.

  2             (Exhibit 16 was marked for identification and

  3        is attached hereto.)

  4     BY MR. ROLFS:

  5        Q    Do you recognize this email, Mr. McCandless?       01:47:10

  6        A    I don't remember sending this one

  7     specifically, but I remember sending similar

  8     e-mails.

  9        Q    Do you have any reason to doubt that this is

 10     an email that you sent to someone named Madi on            01:47:31

 11     August 19, 2020?

 12        A    No, I do not.

 13        Q    If you could please look at the paragraph

 14     that follows the list of domains and look at the

 15     second sentence.    Do you see that it says:               01:47:49

 16                   "We offer both self-managed and

 17             fully managed options, with

 18             self-managed operating at an 80/20

 19             revenue share and fully managed

 20             operating at a 60/40 revenue share."               01:48:07

 21             Do you see that?

 22        A    I do see that.

 23        Q    Did you require Madi to sign a nondisclosure

 24     or confidentiality agreement before you sent her

 25     this email?                                                01:48:21

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  1        A    I do not believe so.

  2        Q    Have you ever asked any model to sign a

  3     confidentiality or nondisclosure agreement before

  4     sending them proposed pricing terms for their

  5     website?                                                   01:48:33

  6        A    No, because I do not disclose to them how we

  7     calculated the percentage we offered them.

  8        Q    You disclosed the percentages you were

  9     offering to models for their revenue share without

 10     requiring them to sign a confidentiality agreement,        01:49:02

 11     correct?

 12        A    The revenue shares varied based on the

 13     client, but yes.

 14             MR. ROLFS:   I'm going to ask the court

 15     reporter to mark this as Exhibit 17.                       01:49:44

 16             (Exhibit 17 was marked for identification and

 17        is attached hereto.)

 18     BY MR. ROLFS:

 19        Q    Do you recognize this email, Mr. McCandless?

 20        A    Yes.                                               01:50:09

 21        Q    This is an email you sent to a Kevin Mohr on

 22     February 27, 2020, correct?

 23        A    That's what it states.

 24        Q    Do you have any reason to doubt that you sent

 25     this email?                                                01:50:34

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  1        A     I do not.

  2        Q     Do you see in the final sentence in the first

  3     paragraph, it says:

  4                   "Please contact our payment

  5              processing partner at https:                        01:50:45

  6              Support.CCBill.com so that you don't

  7              miss out on the amazing content."

  8              Do you see that?

  9        A     I do see that.

 10        Q     Why did you refer to CCBill as your payment         01:50:58

 11     processing partner?

 12        A     Because that's what they were.

 13        Q     CCBill was your partner, correct?

 14              MR. CHING:     Objection.   Calls for a legal

 15     conclusion.     And vague as to the word "partner."          01:51:14

 16              THE WITNESS:     CCBill was who we used for our

 17     payment processing.

 18     BY MR. ROLFS:

 19        Q     And you called the company that you used for

 20     payment processing your partner, correct?                    01:51:27

 21              MR. CHING:     Objection.   Calls for a legal

 22     conclusion.     And vague as to the word "partner."

 23              THE WITNESS:     It states "partner" in the

 24     email.

 25     ////

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  1     BY MR. ROLFS:

  2        Q    You used the word "partner" to describe

  3     McCandless Group's relationship to CCBill, correct?

  4             MR. CHING:     Objection.    Vague as to the word

  5     "partner" and calls for a legal conclusion.                    01:51:49

  6             THE WITNESS:     In this email, yes.

  7     BY MR. ROLFS:

  8        Q    Were all of the terms of your partnership

  9     with CCBill contained in the services agreement for

 10     payment processing you signed with CCBill?                     01:52:06

 11             MR. CHING:     Objection.    Calls for a legal

 12     conclusion.     Vague as to the word "partnership."

 13             THE WITNESS:     I do not recall.

 14     BY MR. ROLFS:

 15        Q    Does McCandless Group have a services                  01:52:20

 16     agreement with CCBill?

 17        A    Yes.    We would have an agreement with them.

 18        Q    Are there any terms of the relationship

 19     between McCandless Group and CCBill that are not

 20     contained in that agreement?                                   01:52:37

 21        A    I do not recall.

 22        Q    When you described CCBill as a partner, you

 23     were referring to the arrangement between McCandless

 24     Group and CCBill documented by your services

 25     agreement with CCBill, correct?                                01:52:56

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  1             MR. CHING:     Objection.    Calls for a legal

  2     conclusion.     Vague as to the word "partner."

  3             THE WITNESS:     We're stating that we use them

  4     as our payment processing.

  5     BY MR. ROLFS:                                                01:53:12

  6        Q    And you use -- and you use CCBill for payment

  7     processing pursuant to a services agreement between

  8     McCandless Group and CCBill, correct?

  9        A    Yes, we do.

 10        Q    One of McCandless Group's pitches to                 01:53:23

 11     potential clients is that if they go with McCandless

 12     Group, they will get to own their own subscribers,

 13     correct?

 14             MR. CHING:     Objection.    Vague.

 15             THE WITNESS:     I'm not recalling -- I'm not        01:54:06

 16     recalling.

 17             MR. ROLFS:     I'm going to ask the court

 18     reporter to please mark this as Exhibit 18.

 19             (Exhibit 18 was marked for identification and

 20        is attached hereto.)                                      01:54:42

 21     BY MR. ROLFS:

 22        Q    Do you recognize this document?

 23        A    I don't recall, but it looks like something

 24     similar we would send or I would send.

 25        Q    Do you have any reason to doubt that this is         01:54:57

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  1     sent to Coy?

  2               MR. CHING:     Objection.   Foundation.    And

  3     vague.

  4               THE WITNESS:     After the first page, the

  5     subsequent pages were sent to Coy.                               02:01:31

  6     BY MR. ROLFS:

  7        Q      And the first couple pages are notes and

  8     questions about that letter that would subsequently

  9     be sent to Coy, correct?

 10        A      I don't recall who this communication is               02:01:52

 11     between, this first page.

 12        Q      Let's start with the first note.       The second

 13     sentence says:

 14                    "That's an important asset now

 15               that I understand you own the                          02:02:09

 16               domains."

 17               You didn't write that, correct?

 18               MR. CHING:     Objection.   Document speaks for

 19     itself.

 20               THE WITNESS:     I don't recall if I typed that        02:02:24

 21     or not, who that's from.

 22     BY MR. ROLFS:

 23        Q      The text in blue below says:

 24                    "Yep, I have done many things

 25               like this to lock people in without                    02:02:39

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  1             them even knowing it, so we can

  2             definitely use this as leverage since

  3             I own and control all of their

  4             domains, except for a couple that the

  5             models already owned."                               02:02:49

  6             Do you see that?

  7        A    I do see that.

  8        Q    You wrote that, correct?

  9             MR. CHING:     Objection.    Foundation.

 10             THE WITNESS:     I believe so.                       02:03:02

 11     BY MR. ROLFS:

 12        Q    You weren't lying when you wrote that,

 13     correct?     That accurately describes your business

 14     practices?

 15             MR. CHING:     Objection.    Argumentative.          02:03:15

 16             THE WITNESS:     I wouldn't say that's our

 17     business practice.

 18             (Reporter clarification.)

 19             THE WITNESS:     I'm saying I'm not -- sorry.

 20             Can you ask the question again?         I'm          02:03:40

 21     confused.

 22     BY MR. ROLFS:

 23        Q    I'll just ask a new question.

 24        A    Yeah.

 25        Q    When you wrote this, you weren't                     02:03:44

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  1     misrepresenting anything about your business

  2     practices, correct?

  3             MR. CHING:     Objection.    Calls for a legal

  4     conclusion.

  5             THE WITNESS:     I wouldn't state this was our          02:03:55

  6     business practice.

  7     BY MR. ROLFS:

  8        Q    That's not exactly my question,

  9     Mr. McCandless.      What I was asking you is when you

 10     wrote this, you weren't misrepresenting anything to             02:04:05

 11     whoever you wrote this to, correct?

 12             MR. CHING:     Objection.    Calls for a legal

 13     conclusion.     And vague.   I think there's a double

 14     negative.

 15             THE WITNESS:     I'm not clear on that.                 02:04:24

 16     BY MR. ROLFS:

 17        Q    Were you trying to accurately describe your

 18     business practices to whoever you wrote this to?

 19             MR. CHING:     Objection.    Vague as to "business

 20     practices."                                                     02:04:42

 21             THE WITNESS:     I'm responding to -- I wouldn't

 22     say this is a general business practice.          I'm just

 23     commenting on the domains.

 24     BY MR. ROLFS:

 25        Q    Were you trying to mislead whoever you wrote            02:05:30

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  1     this to?

  2             MR. CHING:     Objection.     Calls for a legal

  3     conclusion.     And calls for speculation as to what

  4     someone else might believe.

  5             THE WITNESS:     I didn't have the intent of          02:05:45

  6     misleading.

  7     BY MR. ROLFS:

  8        Q    Do you recall that you wrote this to Jason

  9     Moskowitz?

 10             MR. CHING:     Objection.     Foundation.             02:05:55

 11             THE WITNESS:     I don't recall sending this to

 12     Jason Moskowitz, but it could have been him,

 13     considering the conversations we were having.

 14     BY MR. ROLFS:

 15        Q    McCandless Group did, in fact, refuse to turn         02:06:15

 16     over the domains to Coy that are referenced in this

 17     sentence you wrote, correct?

 18             MR. CHING:     Objection.     Calls for

 19     speculation.     Legal conclusion.      And vague.

 20             THE WITNESS:     Which sentence are you               02:06:33

 21     referring to?

 22     BY MR. ROLFS:

 23        Q    You say:

 24                    "I own and control all of their

 25             domains except for a couple that the                  02:06:40

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  1             models already owned."

  2             Do you see the reference to "all of their

  3     domains"?

  4        A    Yes.

  5        Q    Now, there were some domains for Coy's model        02:06:48

  6     websites that you built that were owned by the

  7     models, correct?

  8        A    Sorry.   Can you ask that question again?

  9        Q    Some of the domains for the websites that

 10     McCandless Group built for Coy were owned by the            02:07:09

 11     models, correct?

 12        A    That is correct.

 13        Q    Most of the domains for the websites

 14     McCandless Group built for Coy were owned by

 15     McCandless Group, correct?                                  02:07:22

 16        A    From what I recall, yes.

 17        Q    McCandless Group acquired those domains,

 18     correct?

 19             MR. CHING:     Objection.   Vague as to

 20     "acquired."                                                 02:07:34

 21             THE WITNESS:     We purchased the domains.

 22     BY MR. ROLFS:

 23        Q    And those domains that we're talking about

 24     McCandless Group refused to turn over to Coy after

 25     McCandless Group terminated the web development             02:07:49

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  1     agreement between Coy and McCandless Group, correct?

  2               MR. CHING:     Objection.   Foundation.     And

  3     vague.

  4               THE WITNESS:     We turned over a couple of the

  5     domains.                                                       02:08:04

  6     BY MR. ROLFS:

  7        Q      Which domains did you turn over?

  8        A      KikiPasso.com and JessicaMBartlett.com.

  9        Q      When did you turn over Kiki Passo's domain?

 10        A      I believe it would have been February 2021, I        02:08:24

 11     believe.

 12        Q      When did you turn over Jessica Bartlett's

 13     domain?

 14        A      It would have been at the same time, so I

 15     believe February 2021.                                         02:08:44

 16        Q      You did not turn over any of the other

 17     domains at any point in 2021, did you?

 18               MR. CHING:     Objection.   Vague.

 19               THE WITNESS:     From what I recall, no.

 20     BY MR. ROLFS:                                                  02:09:05

 21        Q      And that's because, like you wrote here in

 22     this blue text, you thought that controlling their

 23     domains was leverage, correct?

 24        A      No.   It's because my contract stated that we

 25     owned the services that we provided and we purchased           02:09:27

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  1     those domains.

  2        Q    You believe that McCandless Group owned the

  3     domains that we're referring to?

  4        A    Yes.

  5        Q    And you believe that you had a right to                02:09:44

  6     continue using those domains even though they

  7     consisted in most cases of the names of the models,

  8     correct?

  9             MR. CHING:     Objection.    Vague as to the word

 10     "right."                                                       02:10:03

 11             THE WITNESS:     We were not using the domains.

 12     BY MR. ROLFS:

 13        Q    You kept domains that you were not using,

 14     correct?

 15        A    That is correct.                                       02:10:13

 16        Q    You kept those domains solely as leverage

 17     against Coy, correct?

 18             MR. CHING:     Objection.    Calls for

 19     speculation.     And a legal conclusion.

 20             THE WITNESS:     No.   I kept them because the         02:10:26

 21     contract stated that we owned them.

 22     BY MR. ROLFS:

 23        Q    You didn't use the domains, did you?

 24        A    No, we didn't.

 25        Q    You kept domains you had no use for, correct?          02:10:33

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  1             MR. CHING:     Objection.     Asked and answered.

  2             THE WITNESS:     Correct.

  3     BY MR. ROLFS:

  4        Q    When did you first learn that Coy wanted to

  5     be a technology company?                                       02:10:58

  6        A    When Jessica Bartlett posted on Instagram

  7     that Coy was going to be a technology company from

  8     the beginning.

  9        Q    When was that?

 10        A    After the partnership ended.         So it would       02:11:13

 11     have been sometime during the earlier half of 2021,

 12     I believe.

 13             MR. ROLFS:     I'm going to ask the court

 14     reporter to please mark this exhibit as 20.

 15             (Exhibit 20 was marked for identification and          02:11:57

 16        is attached hereto.)

 17     BY MR. ROLFS:

 18        Q    This is an email that Jessica Bartlett sent

 19     you on August 31, 2020, correct?

 20        A    Correct.                                               02:12:37

 21        Q    I'd like you to please look at the section

 22     under "About" on the first page.         You'll see it

 23     says:

 24                  "At Coy Co. we empower creators

 25             to capitalize on you.       Coy Co. is a               02:12:55

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  1             full-service technology company."

  2             Do you see that?

  3        A    I do see that.

  4        Q    After you received this email, did you ever

  5     reach out to Jessica Bartlett to ask why Coy was             02:13:09

  6     describing itself as a full-service technology

  7     company?

  8        A    I did not ask her.

  9        Q    Did you ever reach out to Corey Lewis to ask

 10     why Coy was describing itself as a full-service              02:13:22

 11     technology company?

 12        A    I did not ask Corey, from my knowledge.

 13        Q    Did you ever contact Thomas Drew to ask why

 14     Coy was describing itself as a full-service

 15     technology company?                                          02:13:37

 16        A    From the best of my knowledge, no.

 17        Q    Did you ever reach out to anyone else at Coy

 18     to ask why Coy was describing itself as a

 19     full-service technology company?

 20        A    I do not believe so.                                 02:13:52

 21        Q    I apologize if I've already asked this, but

 22     did you ever provide any of McCandless Group's code

 23     for its websites to anyone at Coy?

 24             MR. CHING:    Objection.    Vague as to "code."

 25             You can answer.                                      02:14:25

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  1             THE WITNESS:     Define what you mean by "code."

  2     BY MR. ROLFS:

  3        Q    What do you understand website code to be?

  4        A    Website code would be the inner working

  5     language that is written within the technology that          02:14:35

  6     makes it operate.

  7        Q    Did you ever send any of the coding language

  8     for McCandless Group's websites to anyone at Coy?

  9        A    They were provided the tech stack with all

 10     the languages we used, the technologies we used, and         02:14:52

 11     how they worked together, yes.

 12        Q    My question was a little bit different,

 13     Mr. McCandless.      I'm specifically asking you about

 14     the actual coding language, not -- let me strike

 15     that.                                                        02:15:05

 16             I'm asking you specifically about the actual

 17     code that was behind the McCandless Group websites.

 18     Did you ever send that to anyone at Coy?

 19             MR. CHING:     Objection.    Vague.

 20             You can answer.                                      02:15:20

 21             THE WITNESS:     I never sent the code directly,

 22     but through discovery, we see that they went through

 23     the code.

 24     BY MR. ROLFS:

 25        Q    What are you referring to when you say "they         02:15:31

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  1               had."

  2               And some sites are listed.

  3                       "Do we have any way of accessing

  4               these sites somehow, even though they

  5               are down, to see as much of the source                 02:19:15

  6               code as possible or getting as much

  7               information on these sites before they

  8               shut them down?"

  9               Did you write that, Mr. McCandless?

 10               MR. CHING:     Objection.     Document speaks for      02:19:25

 11     itself.

 12               THE WITNESS:     Yes, I did.

 13     BY MR. ROLFS:

 14        Q      You were asking Mr. Prajapati to try to

 15     obtain the source code for the Coy websites that it              02:19:31

 16     built after you terminated the Coy website

 17     development agreement, correct?

 18        A      For the purposes of seeing what they stole

 19     from us.

 20        Q      You didn't have permission from Coy to access          02:19:45

 21     the code for any of these websites, did you?

 22        A      Source code is public.

 23        Q      Is McCandless Group's source code public?

 24        A      No, it's not.

 25        Q      I thought you just said that source code was           02:20:08

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  1     public.

  2        A      Source code can be public if you don't put

  3     security measures in place, which is why I asked if

  4     we were able to see it.          We never had any access to

  5     their website, so any type of source code we could                02:20:25

  6     have gotten would have been public.

  7        Q      Did you ask Mr. Prajapati to only obtain

  8     public source code in this text chain?

  9               MR. CHING:     Objection.    Document speaks for

 10     itself.                                                           02:20:38

 11               THE WITNESS:     I did not state the word

 12     "public," but we never had access to anything.            So

 13     the only source code we could have accessed would

 14     have been public.

 15     BY MR. ROLFS:                                                     02:20:46

 16        Q      Did Mr. Prajapati, in fact, access any of

 17     Coy's source code?

 18        A      I do not recall.

 19               MR. ROLFS:     Let's take a break.

 20               MR. CHING:     Sure.                                    02:21:11

 21               THE VIDEOGRAPHER:       The time is 2:21 p.m.    Off

 22     the record.

 23               (Recess.)

 24               THE VIDEOGRAPHER:       The time is 2:35 p.m.

 25     We're back on record.                                             02:35:16

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  1              MR. ROLFS:     I'm going to ask the court

  2     reporter to mark this as Exhibit 22.

  3              (Exhibit 22 was marked for identification and

  4        is attached hereto.)

  5     BY MR. ROLFS:                                                  02:35:41

  6        Q     Do you recognize this document,

  7     Mr. McCandless?

  8        A     I do not recall, but this is my user name on

  9     Skype.

 10        Q     Is this a text message chain between you and          02:36:17

 11     someone named Mark Lenteken?

 12        A     Yes, that's what it says.

 13        Q     Do you have any reason to doubt that that is

 14     accurate?

 15        A     No, I do not.                                         02:36:36

 16        Q     Who is Mark Lenteken?

 17        A     Based on this conversation, I believe he was

 18     a designer.

 19        Q     You'll see the date of this text message

 20     chain is February 18, 2021, correct?                           02:37:05

 21        A     Yes.

 22        Q     That's approximately two months after Coy and

 23     McCandless Group's relationship ceased, correct?

 24        A     Correct.

 25        Q     You're asking Mr. Lenteken to do a design for         02:37:21

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  1     you in this text chain, correct?

  2        A    Yes.

  3        Q    You provided Mr. Lenteken a design on

  4     page 14752, correct?

  5        A    Yes.                                                 02:37:44

  6        Q    This design was a design you received from

  7     Coy, correct?

  8        A    Yes.

  9        Q    McCandless Group copied the design that it

 10     received from Coy for its own webpages, didn't it?           02:38:04

 11             MR. CHING:     Objection.    Foundation.

 12             THE WITNESS:     We modified a design.

 13     BY MR. ROLFS:

 14        Q    You took a design that Coy had provided you,

 15     modified it, and used it for your own websites,              02:38:23

 16     correct?

 17        A    We used it to influence a modified design.

 18        Q    If you look at the text message on page 14752

 19     that you sent, underneath the design it says:

 20                    "So you'll see this design in                 02:38:52

 21             elements.    We already built this, but

 22             we want to change the design without

 23             changing the elements."

 24             Do you see that?

 25        A    I do see that.                                       02:39:00

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  1        Q      McCandless Group used the elements from a Coy

  2     Collective web design for its own websites, correct?

  3               MR. CHING:     Objection.     Foundation.

  4               THE WITNESS:     Sorry.     Can you ask the

  5     question again?                                                  02:39:26

  6     BY MR. ROLFS:

  7        Q      McCandless Group used the elements from a

  8     design from The Coy Collective for its own websites,

  9     correct?

 10               MR. CHING:     Objection.     Foundation.     And      02:39:38

 11     vague.

 12               THE WITNESS:     We used it as a -- to influence

 13     a modified design for our websites.

 14     BY MR. ROLFS:

 15        Q      You specifically told Mr. Lenteken that you            02:39:52

 16     did not want him to change the elements of the

 17     design, correct?

 18               MR. CHING:     Objection.     Document speaks for

 19     itself.     And foundation.

 20               THE WITNESS:     I did say "without changing the       02:40:07

 21     elements."

 22     BY MR. ROLFS:

 23        Q      And you weren't making any kind of mistake in

 24     terms of your directions to Mr. Lenteken when you

 25     told him that, correct?                                          02:40:25

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  1             MR. CHING:     Objection.    Vague.

  2             THE WITNESS:     That was stated because we

  3     created technology to manage the design that we

  4     owned that we wanted to modify, so it wasn't a copy.

  5     BY MR. ROLFS:                                                   02:40:45

  6        Q    Are you contending, Mr. McCandless, that

  7     McCandless Group owned this image on the top of

  8     page 14752?

  9             MR. CHING:     Objection.    Foundation.     Calls

 10     for a legal conclusion.                                         02:40:56

 11             THE WITNESS:     I'm not stating that we owned

 12     that image.     I'm stating that we owned the

 13     technology behind it.

 14     BY MR. ROLFS:

 15        Q    The image was provided to you by Coy                    02:41:07

 16     Collective, correct?

 17             MR. CHING:     Objection.    Foundation.

 18             THE WITNESS:     I believe it was provided by

 19     someone working with Coy.

 20     BY MR. ROLFS:                                                   02:41:22

 21        Q    And you directed Mr. Lenteken to use that

 22     image that was provided by Coy for McCandless

 23     Group's websites without changing the elements,

 24     correct?

 25             MR. CHING:     Objection.    Document speaks for        02:41:35

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  1              MR. CHING:     Objection.   Calls for

  2     speculation.

  3              THE WITNESS:     I do not recall.

  4     BY MR. ROLFS:

  5        Q     When you terminated McCandless Group's               02:50:43

  6     agreement with Coy, you intended to cut Coy off from

  7     the subscriber data for the Coy websites, correct?

  8              MR. CHING:     Objection.   Foundation.

  9              THE WITNESS:     We were going to follow the

 10     contract that we had with Coy.                                02:50:56

 11     BY MR. ROLFS:

 12        Q     That's not exactly what I asked you,

 13     Mr. McCandless.       I asked you if, when you terminated

 14     McCandless Group's agreement with Coy, you intended

 15     to cut Coy off from the subscriber data for the Coy           02:51:05

 16     websites?

 17              MR. CHING:     Objection.   Foundation.     And

 18     vague.

 19              THE WITNESS:     The data that was ours, we were

 20     not going to provide.                                         02:51:18

 21     BY MR. ROLFS:

 22        Q     That wasn't my question.

 23              My question was, when you terminated

 24     McCandless Group's agreement with Coy, you intended

 25     to cut Coy off from the subscriber data for the Coy           02:51:31

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  1     websites, correct?

  2             MR. CHING:     Objection.     Vague and foundation.

  3             THE WITNESS:     They wouldn't have access to

  4     that data.

  5     BY MR. ROLFS:                                                  02:51:43

  6        Q    It was your intent that they wouldn't have

  7     access to that data, correct?

  8        A    Yes.

  9        Q    In fact, you checked with CCBill prior to

 10     terminating McCandless Group's agreement with Coy to           02:51:55

 11     make sure you could cut Coy off from the subscriber

 12     data for its websites, correct?

 13             MR. CHING:     Objection.     Vague.

 14             THE WITNESS:     I'm sorry.     Can you ask that

 15     question again?                                                02:52:08

 16     BY MR. ROLFS:

 17        Q    You checked with CCBill prior to terminating

 18     the Coy agreement to make sure that you could cut

 19     Coy off from the subscriber data for its websites,

 20     correct?                                                       02:52:18

 21             MR. CHING:     Objection.     Vague.   And calls for

 22     speculation.

 23             THE WITNESS:     I don't recall exactly what I

 24     asked them.

 25             MR. ROLFS:     I'll ask the court reporter to          02:52:29

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  1     mark this as next in order.

  2             (Exhibit 24 was marked for identification and

  3        is attached hereto.)

  4             MR. CHING:    Is this Exhibit 24?

  5             THE COURT REPORTER:      Yes.                        02:52:49

  6     BY MR. ROLFS:

  7        Q    Do you recognize this document,

  8     Mr. McCandless?

  9        A    Yes.

 10        Q    Is this a text message chain between you and         02:53:11

 11     someone at CCBill named Rita?

 12        A    Yes.    It's a Skype message conversation.

 13        Q    And the date of this text message chain is

 14     October 16, 2020, correct?

 15        A    That is correct.                                     02:53:29

 16        Q    That is before you notified Coy that you were

 17     going to terminate the Coy WDA, correct?

 18        A    That is correct.     Because conflicts were

 19     arising between the partnership.

 20        Q    If you look at the last message on the first         02:53:46

 21     page, it says:

 22                    "I just want to confirm

 23             something.    I am assuming that in

 24             terms of customer data, relationships,

 25             terms, et cetera, all of that remains                02:53:56

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  1             exclusive with me and my company even

  2             though Coy Co receives the earnings on

  3             their sites, correct?       I am just

  4             wanting to confirm that in the event

  5             where I decide to no longer work with                 02:54:07

  6             them, that they would have to get

  7             their own account, resulting in higher

  8             fees, no account history like I have,

  9             no transfer of customer data/info,

 10             et cetera, since it's all ran under                   02:54:21

 11             me, correct?"

 12             Do you see that?

 13        A    I do see that.

 14        Q    You wrote that, correct?

 15        A    I did write that.                                     02:54:30

 16        Q    The next text message in the chain from Rita

 17     says, "That is all correct."

 18             Do you see that?

 19        A    Yes.

 20        Q    And you respond:                                      02:54:37

 21                    "Perfect!    Thanks for confirming

 22             that for me."

 23             Correct?

 24        A    Yes.

 25        Q    You checked with CCBill prior to terminating          02:54:45

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  1     the agreement with Coy to make sure you could cut

  2     Coy off from the subscriber data for its websites,

  3     didn't you?

  4        A    I asked so I know -- I knew what the path

  5     forward would be.                                           02:55:01

  6        Q    You asked specifically if you could cut Coy

  7     off from its subscriber data, and you were told yes;

  8     isn't that true?

  9             MR. CHING:     Objection.   Foundation and vague.

 10             THE WITNESS:     I did not state "cut off."         02:55:15

 11     BY MR. ROLFS:

 12        Q    You asked Rita if Coy would lose access to

 13     account history, customer data and info if you

 14     terminated the Coy Co agreement, correct?

 15        A    Yes, because they never had access to that          02:55:34

 16     data.   And they knew that.

 17        Q    You wanted to make sure that Coy Co could not

 18     have that data if you terminated the contract,

 19     correct?

 20             MR. CHING:     Objection.   Foundation and vague.   02:55:48

 21             THE WITNESS:     I just wanted to understand the

 22     path moving forward.

 23     BY MR. ROLFS:

 24        Q    Why did you ask Rita if Coy Co would have

 25     access to customer data and info if you terminated          02:56:01

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  1     the Coy Co agreement?

  2             MR. CHING:     Objection.    Asked and answered.

  3             THE WITNESS:     So I understood the steps

  4     moving forward.

  5     BY MR. ROLFS:                                                   02:56:11

  6        Q    Was one of the steps moving forward to -- was

  7     one of the steps moving forward to make sure that

  8     Coy would not have access to customer data and info

  9     after you terminated the Coy Co agreement?

 10        A    It was to understand if they would have that            02:56:24

 11     data or not.

 12        Q    What did you find out?

 13        A    They informed me they wouldn't.

 14        Q    After you learned that Coy Co wouldn't have

 15     access to its data, you decided to cut -- to                    02:56:41

 16     terminate the Coy agreement, correct?

 17             MR. CHING:     Objection.    Vague and foundation.

 18             THE WITNESS:     That is incorrect.

 19     BY MR. ROLFS:

 20        Q    You knew that cutting Coy off from the                  02:56:52

 21     customer data and info would cripple Coy's business,

 22     didn't you?

 23             MR. CHING:     Objection.    Foundation.     Calls

 24     for speculation.

 25             THE WITNESS:     That is incorrect.      I did not      02:57:01

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  1     BY MR. ROLFS:

  2        Q    Mr. McCandless, this is a yes or no question.

  3     Did you want Coy to have access to customer and data

  4     info after you terminated the Coy WDA?

  5             MR. CHING:     Objection.   Asked and answered.      03:00:36

  6     Misstates the witness's prior testimony.          And

  7     relevance.

  8             THE WITNESS:     No, because they agreed to a

  9     McCandless Group service.

 10     BY MR. ROLFS:                                                03:00:45

 11        Q    CCBill told you that it was possible to

 12     transfer customers under Coy Co's CCBill account to

 13     a new Coy Co account, correct?

 14             MR. CHING:     Objection.   Foundation.

 15             THE WITNESS:     I recall the opposite of that.      03:01:05

 16             MR. ROLFS:     Let's mark this as Exhibit 25.

 17             (Exhibit 25 was marked for identification and

 18        is attached hereto.)

 19             MR. ROLFS:     I think I pulled the wrong one.

 20     BY MR. ROLFS:                                                03:02:02

 21        Q    Mr. McCandless, do you recognize this

 22     document?

 23        A    I do.

 24        Q    And is this a text message chain between you

 25     and Rita at CCBill?                                          03:02:36

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  1        A    Both Jessica and McCandless did.

  2        Q    How long was that website kept active?

  3        A    So I believe we transferred the domain to her

  4     February of 2021, so it would have been before -- it

  5     would have had to be before then.                              03:42:58

  6        Q    When did McCandless Group stop operating the

  7     Jessica Bartlett website?

  8        A    Before February 2021.       Or before the domain

  9     was transferred.

 10        Q    After February 2021, McCandless Group did not          03:43:14

 11     operate a website for Jessica Bartlett, correct?

 12        A    If February 2021 is when I transferred the

 13     domain, that's when I believe -- that's when I

 14     believe we transferred the domain.        Once the domain

 15     was transferred, we no longer operated a site.                 03:43:35

 16        Q    After approximately February 2021, did

 17     McCandless Group have any obligation to continue

 18     operating a website for Jessica Bartlett?

 19             MR. CHING:     Objection.    Vague.

 20             THE WITNESS:     What do you mean by                   03:43:57

 21     "obligation"?

 22     BY MR. ROLFS:

 23        Q    After approximately February of 2021, was

 24     McCandless Group required by any contract to operate

 25     a website for Jessica Bartlett?                                03:44:07

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  1        A    It was not required of us.

  2        Q    After approximately February 2021 when

  3     McCandless Group stopped operating a website for

  4     Jessica Bartlett, did McCandless Group continue to

  5     maintain images of Jessica Bartlett on its AWS              03:44:28

  6     servers?

  7             MR. CHING:     Objection.   Vague as to "continue

  8     to maintain images."

  9             THE WITNESS:     There were images on our

 10     servers that I did not know about until the                 03:44:40

 11     counterclaims came through.

 12     BY MR. ROLFS:

 13        Q    When McCandless Group stopped operating the

 14     Jessica Bartlett website, did you ask anyone to

 15     delete Jessica Bartlett's images from McCandless            03:45:03

 16     Group's Amazon servers?

 17        A    After we were aware that the images were on

 18     the servers and in consulting with counsel, yes.

 19        Q    What was the first time you requested that

 20     Jessica Bartlett's images be removed from McCandless        03:45:24

 21     Group's Amazon servers?

 22        A    I believe it to be sometime after the

 23     counterclaims were filed.

 24             MR. ROLFS:     I am going to ask the court

 25     reporter to mark this as Exhibit 28.                        03:45:56

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  1     BY MR. ROLFS:

  2        Q    Mr. McCandless, this is a yes or no question.

  3     Did you want Coy to have access to customer and data

  4     info after you terminated the Coy WDA?

  5             MR. CHING:     Objection.   Asked and answered.      03:00:36

  6     Misstates the witness's prior testimony.          And

  7     relevance.

  8             THE WITNESS:     No, because they agreed to a

  9     McCandless Group service.

 10     BY MR. ROLFS:                                                03:00:45

 11        Q    CCBill told you that it was possible to

 12     transfer customers under Coy Co's CCBill account to

 13     a new Coy Co account, correct?

 14             MR. CHING:     Objection.   Foundation.

 15             THE WITNESS:     I recall the opposite of that.      03:01:05

 16             MR. ROLFS:     Let's mark this as Exhibit 25.

 17             (Exhibit 25 was marked for identification and

 18        is attached hereto.)

 19             MR. ROLFS:     I think I pulled the wrong one.

 20     BY MR. ROLFS:                                                03:02:02

 21        Q    Mr. McCandless, do you recognize this

 22     document?

 23        A    I do.

 24        Q    And is this a text message chain between you

 25     and Rita at CCBill?                                          03:02:36

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  1        A    Both Jessica and McCandless did.

  2        Q    How long was that website kept active?

  3        A    So I believe we transferred the domain to her

  4     February of 2021, so it would have been before -- it

  5     would have had to be before then.                              03:42:58

  6        Q    When did McCandless Group stop operating the

  7     Jessica Bartlett website?

  8        A    Before February 2021.       Or before the domain

  9     was transferred.

 10        Q    After February 2021, McCandless Group did not          03:43:14

 11     operate a website for Jessica Bartlett, correct?

 12        A    If February 2021 is when I transferred the

 13     domain, that's when I believe -- that's when I

 14     believe we transferred the domain.        Once the domain

 15     was transferred, we no longer operated a site.                 03:43:35

 16        Q    After approximately February 2021, did

 17     McCandless Group have any obligation to continue

 18     operating a website for Jessica Bartlett?

 19             MR. CHING:     Objection.    Vague.

 20             THE WITNESS:     What do you mean by                   03:43:57

 21     "obligation"?

 22     BY MR. ROLFS:

 23        Q    After approximately February of 2021, was

 24     McCandless Group required by any contract to operate

 25     a website for Jessica Bartlett?                                03:44:07

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  1        A    It was not required of us.

  2        Q    After approximately February 2021 when

  3     McCandless Group stopped operating a website for

  4     Jessica Bartlett, did McCandless Group continue to

  5     maintain images of Jessica Bartlett on its AWS              03:44:28

  6     servers?

  7             MR. CHING:     Objection.   Vague as to "continue

  8     to maintain images."

  9             THE WITNESS:     There were images on our

 10     servers that I did not know about until the                 03:44:40

 11     counterclaims came through.

 12     BY MR. ROLFS:

 13        Q    When McCandless Group stopped operating the

 14     Jessica Bartlett website, did you ask anyone to

 15     delete Jessica Bartlett's images from McCandless            03:45:03

 16     Group's Amazon servers?

 17        A    After we were aware that the images were on

 18     the servers and in consulting with counsel, yes.

 19        Q    What was the first time you requested that

 20     Jessica Bartlett's images be removed from McCandless        03:45:24

 21     Group's Amazon servers?

 22        A    I believe it to be sometime after the

 23     counterclaims were filed.

 24             MR. ROLFS:     I am going to ask the court

 25     reporter to mark this as Exhibit 28.                        03:45:56

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  1     BY MR. ROLFS:

  2        Q    Mr. McCandless, were you willing to continue

  3     providing services to Coy under the existing terms

  4     of the Coy-McCandless Group web development

  5     agreement?                                                     04:22:26

  6             MR. CHING:       Objection.   Calls for a legal

  7     conclusion.     Vague.     Asked and answered.

  8             THE WITNESS:       We may have accepted them with

  9     additional terms added.        There would have had to

 10     have been modifications because they were competing            04:22:39

 11     with our business.

 12     BY MR. ROLFS:

 13        Q    There would have had to have been

 14     modifications to the Coy-McCandless Group web

 15     development agreement for you to continue providing            04:22:49

 16     services to Coy, correct?

 17             MR. CHING:       Calls for a legal conclusion.

 18     And vague.

 19             THE WITNESS:       The terms would have to be

 20     modified.                                                      04:23:05

 21             It was also discussed through multiple text

 22     messages that there would not be competition, that

 23     they would -- we would benefit each other.           They

 24     would not compete with us.        It would be mutually

 25     beneficial.     Those were their words.                        04:23:16

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  1        A    I do not write code.

  2        Q    Do you know how to read code?

  3             MR. CHING:     Objection.   Vague.

  4             THE WITNESS:     I understand some code.

  5     BY MR. ROLFS:                                               04:25:17

  6        Q    Can you give me a sense of what -- can you

  7     give me a sense of what your proficiency in reading

  8     code is?

  9             MR. CHING:     Objection.   Vague.

 10             THE WITNESS:     That's -- there's a -- it's        04:25:35

 11     opinionated.    I wouldn't know how to answer that.

 12     BY MR. ROLFS:

 13        Q    If someone were to ask you in a casual

 14     conversation how well you could read code, what

 15     would you tell them?                                        04:25:47

 16        A    Well, enough to run a successful software

 17     company and manage a team of software developers.

 18        Q    What languages of code can you read?

 19        A    HTML, CSS, some -- I have a basic

 20     understanding of PHP.      That's what I'm recalling.       04:26:18

 21             I'm not a programmer, but I can look at code

 22     and make a sense of what it's doing.

 23        Q    Are you familiar with a MERN tech stack?

 24     M-E-R-N.

 25             MR. CHING:     Objection.   Calls for expert        04:26:49

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  1     testimony.

  2             THE WITNESS:     I don't believe so.

  3             MR. ROLFS:     I'm going to mark this as

  4     Exhibit 33.

  5             (Exhibit 33 was marked for identification and         04:27:04

  6        is attached hereto.)

  7     BY MR. ROLFS:

  8        Q    Mr. McCandless, I don't know if you've seen

  9     this document before.       Do you see at the bottom

 10     there's a website www.MongoDB.com/MERN-stack?                 04:27:35

 11        A    I do see that.

 12        Q    MongoDB is a service utilized by McCandless

 13     Group, correct?

 14        A    Correct.

 15        Q    And do you have any reason to doubt that this         04:27:56

 16     is a printout of a page from the MongoDB website?

 17             MR. CHING:     Objection.     Calls for

 18     speculation.

 19             You can answer if you know.

 20             THE WITNESS:     I would not know.                    04:28:15

 21     BY MR. ROLFS:

 22        Q    Do you have any reason to doubt that this is

 23     a printout of a portion of the MongoDB website?

 24             MR. CHING:     Objection.     Calls for

 25     speculation.                                                  04:28:25

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  1        A      There's no relationship between App Company

  2     and McCandless Group, but there is a relationship

  3     between the partners.

  4        Q      The partners in McCandless Group are the same

  5     partners in The App Company, correct?                          04:38:16

  6               MR. CHING:     Objection.   Relevance.   And

  7     vague.

  8               THE WITNESS:     They were brought in at a later

  9     point into McCandless Group.

 10     BY MR. ROLFS:                                                  04:38:28

 11        Q      The current partners of McCandless Group are

 12     the same as the current partners of The App Company,

 13     correct?

 14               MR. CHING:     Objection.   Relevance.   Vague.

 15               THE WITNESS:     Correct.                            04:38:44

 16     BY MR. ROLFS:

 17        Q      You mentioned another job, something about

 18     size --

 19        A      Bite Size.

 20        Q      What was Bite Size?                                  04:38:50

 21        A      Bite Size Networks, they were an

 22     entertainment studio in Hollywood that I was a

 23     producer for.

 24        Q      When did you work with Bite Size?

 25        A      If I'm remembering correctly, it was in 2012.        04:39:08

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  1     BY MR. ROLFS:

  2        Q     Do you have an agreement with Jason Moskowitz

  3     documenting the terms of your partnership with him?

  4              MR. CHING:     Objection.   Calls for a legal

  5     conclusion.                                                    05:14:03

  6              THE WITNESS:     We do have a signed agreement

  7     with Jason Moskowitz.

  8     BY MR. ROLFS:

  9        Q     Would you ever enter into a partnership

 10     without a signed agreement?                                    05:14:16

 11              MR. CHING:     Objection.   Calls for

 12     speculation.    And calls for a legal conclusion.

 13              THE WITNESS:     We would have some contract in

 14     place.

 15     BY MR. ROLFS:                                                  05:14:28

 16        Q     You would have to have some contract in place

 17     to have a partnership, correct?

 18              MR. CHING:     Objection.   Mischaracterizes the

 19     witness's prior testimony.       Also calls for a legal

 20     conclusion.                                                    05:14:40

 21              THE WITNESS:     We would have partnerships and

 22     establish them with contracts.

 23     BY MR. ROLFS:

 24        Q     Your partnership with Coy was documented by a

 25     web development agreement, correct?                            05:14:58

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  1             MR. CHING:     Objection.    Calls for a legal

  2     conclusion.

  3             THE WITNESS:     There was various

  4     communications where we were communicating as

  5     partners.     The defendants were using the word             05:15:11

  6     "partner," and we all agreed that we were going to

  7     be partners.     That was mutually beneficial.

  8     BY MR. ROLFS:

  9        Q    Mr. McCandless, my question was a little bit

 10     different.                                                   05:15:20

 11             Was your partnership with my clients

 12     documented by a web development agreement?

 13             MR. CHING:     Objection.    Calls for a legal

 14     conclusion.

 15             THE WITNESS:     We have a web development           05:15:31

 16     agreement with them.

 17     BY MR. ROLFS:

 18        Q    Mr. McCandless, was your partnership with my

 19     clients documented by a web development agreement?

 20             MR. CHING:     Objection.    Calls for a legal       05:15:41

 21     conclusion.

 22             THE WITNESS:     The partnership was established

 23     before the web development agreement.

 24     BY MR. ROLFS:

 25        Q    Was the partnership you're referring to put          05:15:51

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  1     in writing in the form of a web development

  2     agreement?

  3             MR. CHING:     Objection.    Calls for a legal

  4     conclusion.     Asked and answered.

  5             THE WITNESS:     I wouldn't -- I cannot comment      05:16:00

  6     on that from a legal perspective.        I don't --

  7     BY MR. ROLFS:

  8        Q    You have said that you had a partnership.

  9        A    We did.

 10        Q    Was your partnership documented by a web             05:16:15

 11     development agreement?

 12             MR. CHING:     Objection.    Calls for a legal

 13     conclusion.     Asked and answered.

 14             THE WITNESS:     We agreed on a partnership

 15     before the web development agreement.         The            05:16:28

 16     partnership was established.

 17     BY MR. ROLFS:

 18        Q    That's not what I'm asking you,

 19     Mr. McCandless.

 20             I'm asking if you put the terms of the               05:16:34

 21     partnership you're referring to into the web

 22     development agreement?

 23             MR. CHING:     Objection.    Calls for a legal

 24     conclusion.

 25             THE WITNESS:     There was terms involved with       05:16:45

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  1     the partnership in the web development agreement.

  2     BY MR. ROLFS:

  3        Q    Did the partnership you're referring to have

  4     any assets?

  5             MR. CHING:     Objection.     Calls for a legal      05:17:07

  6     conclusion.     And vague.

  7             THE WITNESS:     I -- I do not recall.

  8             MR. ROLFS:     I think I'm done for the day.

  9             MR. CHING:     I have a few questions of my own,

 10     actually.                                                    05:17:37

 11

 12                             EXAMINATION

 13     BY MR. CHING:

 14        Q    Did you enter into a confidentiality

 15     agreement with Rayo Tech?                                    05:17:48

 16        A    Yes, I did.

 17        Q    When?

 18        A    Before working together on the influencer

 19     platform for McCandless Group.

 20        Q    And the influence -- influencer platform             05:18:04

 21     you're talking about is the tech stack?

 22        A    Yes.

 23        Q    And would you work with Rayo Tech without a

 24     contract?

 25        A    No.                                                  05:18:11

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  1      knowledge about what we're providing.            It doesn't

  2      have our tech stack in here, doesn't have our

  3      confidential information about our revenue share

  4      percentage.     It doesn't disclose all of our

  5      methodologies, how we calculate how -- our                       05:21:40

  6      accounting methods.        This is just pretty basic.

  7      BY MR. CHING:

  8         Q      Do your -- does your -- is your trade secrets

  9      more detailed than the information that is revealed

 10      in these pitch decks?                                            05:21:57

 11                MR. ROLFS:     Objection.   Vague and leading.

 12                THE WITNESS:     Yes.

 13      BY MR. CHING:

 14         Q      Does your -- do your websites for your models

 15      and influencers contain information related to the               05:22:13

 16      CCBill?

 17                MR. ROLFS:     Objection.   Leading.

 18                THE WITNESS:     Yes.

 19      BY MR. CHING:

 20         Q      Why does it contain that information?                  05:22:19

 21                MR. ROLFS:     Objection.   Calls for a

 22      narrative.

 23                THE WITNESS:     So that if people have issues,

 24      they know the payment processor to contact.

 25      ////

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  1         Q    And could these terms differ after

  2      negotiating than what was initially advertised?

  3              MR. ROLFS:     Objection.   Leading.

  4              THE WITNESS:     Yes.

  5      BY MR. CHING:                                                 05:27:32

  6         Q    Earlier do you remember that you testified

  7      that Corey Lewis was provided a test account to

  8      access a version of your website?

  9         A    Yes, I do remember saying that.

 10         Q    And what level access was Corey given, based          05:28:30

 11      on that login and password?

 12         A    It was subscriber access.

 13         Q    And so is a subscriber access something that

 14      if someone paid for it, they would have access to

 15      that?                                                         05:28:50

 16         A    That's correct.

 17         Q    And earlier you testified that in -- on

 18      May 20th, 2019 -- or 2020, you had a call with Corey

 19      Lewis and it was related to your trade secrets.

 20              Do you recall that?                                   05:29:12

 21              MR. ROLFS:     Objection.   Misstates testimony.

 22              THE WITNESS:     Sorry, what was the date of

 23      that?

 24      BY MR. CHING:

 25         Q    Sorry, one second.                                    05:29:21

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  1
  2
  3               I, the undersigned, a Certified Shorthand
  4      Reporter of the State of California, do hereby
  5      certify:
  6                  That the foregoing proceedings were taken
  7      before me at the time and place herein set forth;
  8      that any witnesses in the foregoing proceedings,
  9      prior to testifying, were placed under oath; that a
 10      record of the proceedings was made by me using
 11      machine shorthand which was thereafter transcribed
 12      under my direction; further, that the foregoing is
 13      an accurate transcription thereof.
 14                  I further certify that I am neither
 15      financially interested in the action nor a relative
 16      or employee of any attorney of any of the parties.
 17                  IN WITNESS WHEREOF, I have this date
 18      subscribed my name.
 19
 20      Dated: 8/21/23
 21
 22
 23                            <%5979,Signature%>
                               KATHLEEN E. BARNEY
 24                            CSR No. 5698
 25

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  1
  2
  3               I, the undersigned, a Certified Shorthand
  4      Reporter of the State of California, do hereby
  5      certify:
  6                  That the foregoing proceedings were taken
  7      before me at the time and place herein set forth;
  8      that any witnesses in the foregoing proceedings,
  9      prior to testifying, were placed under oath; that a
 10      record of the proceedings was made by me using
 11      machine shorthand which was thereafter transcribed
 12      under my direction; further, that the foregoing is
 13      an accurate transcription thereof.
 14                  I further certify that I am neither
 15      financially interested in the action nor a relative
 16      or employee of any attorney of any of the parties.
 17                  IN WITNESS WHEREOF, I have this date
 18      subscribed my name.
 19
 20      Dated: 8/21/23
 21
 22
 23                            <%7136,Signature%>
                               NADIA NEWHART
 24                            CSR No. 8714
 25

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      EXHIBIT B

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  ,•"
   Number of participants

                                    + 18058358052 Jessica Bartlett (owner)
   Participants
                                    + 19197916441   Nick McCandless

   Number of messages             12

   First message sent date/time May 11, 2020 11:45:17

   Last message sent date/time!y 11, 2020 12:33:10




         +19197916441 Nick McCandless                                        May 11, 2020 11:45:17



        Here is subscriber account for Corey;testsub©gmail.com;Test@ 123 !Sub




         + 19197916441 Nick McCandless                                       May 11, 2020 11:50:39



        Confirming functionality of the delete on the messages as well. Iam going to have that expedited
        so this is no longer anything to worry about either




                              +18058358052 Jessica Bartlett                                     May 11, 2020 12:15:40



                            Thank you!!




         +19197916441 Nick McCandless                                        May 11, 2020 12:17:16




                             +18058358052 Jessica Bartlett                                      May 11, 2020 12:21:15



                            The account looks great thanks!,




                                                                                                                        Page 114
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                            +18058358052 Jessica Bartlett                                         May 11, 2020 12:21:44



                          Question tho, for messages, has it always been blurred there as well?




       + 19197916441 Nick McCandless                                           May 11, 2020 12:25:12



     Yes




      +19197916441 Nick McCandless                                             May 11, 2020 12:25:59



     We are adding the option to send mass messages so they aren't blurred and just fully covered an
     dwe can also increase the level of blur so it's less transparent if you'd like




                           +18058358052 Jessica Bartlett                                          May 11, 2020 12:31:47



                         Sounds food!




                           4-18058358052 Jessica Bartlett                                         May 11, 2020 12:31:57



                         Ithink amore intense blur would be good for messages




      + 19197916441 Nick McCandless                                           May 11, 2020 12:33:03



     Got it! Will update this and reprocess the blurred images so that they are all more intense and les
     stransparent




                           +18058358052 Jessica Bartlett                                          May 11, 2020 12:33:10



                         Loved "Got it! Will update this and reprocess the blurred images so that they are all more intense
                         and less transparent"




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     EXHIBIT C

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                                   #:6152




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       6   McCandless Group LLC and Nicholas McCandless

       7

       8
                                  UNITED STATES DISTRICT COURT
       9           CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
      10
            McCandless Group, LLC,                        Case No. 2:21-cv-02069
      11
                         Plaintiff,                       Hon. David 0. Carter
      12                                                  Courtroom 9D
            V.
      13
            The Coy Collective, Inc., et. al.,            MCCANDLESS GROUP LLC.'S
      14
                                                          SUPPLEMENTAL RESPONSE TO
                         Defendants.                      INTERROGATORIES FROM
      15
                                                          COUNTER-CLAIMANT THE COY
      16                                                  COLLECTIVE, INC., SET ONE
            The Coy Collective, Inc., et. al.,
      17
                         Counter-claimants,
      18
            V.
      19
            McCandless Group LLC and Nicholas
      20    McCandless,

      21                 Counter-defendants.

      22

      23   PROPOUNDING PARTY:               Defendant, THE COY COLLECTIVE, INC.,

      24   RESPONDING PARTY:                Plaintiff and Counter-defendants, MCCANDLESS
                                            GROUP LLC
      25
           SET NO:                          ONE
                                                                  4
                                                                         EXHIBIT
      26

      27
                                                                         /0
      28

                                                     -1-
            MCCANDLESS GROUP LLC.'S RESPONSE TO REQUEST FOR INTERROGATORIES FROM DEFENDANT TH
                                        COY COLLECTIVE, INC., SET ONE




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           1          Plaintiff    MCCANDLESS         GROUP        LLC.      ("McCandless    Group"         or
       2 "Responding              Party") hereby submits supplemental responses to defendant THE

       3 COY           COLLECTIVE,        INC.   ("Coy"   or   "Propounding      Party")'s   first   set    of

       4 interrogatories ("Interrogatories") as follows:

       5                                   PRELIMINARY STATEMENT

       6              Responding Party makes these responses solely for the purposes of this action

       7
               and based on the information currently known and available to Responding                    Party.

               Responding Party reserves all and waives none of his objections as to the admissibility
       8
               of any information or documents provided in response to the Interrogatories.
       9
               Responding Party has not fully completed its investigation of the facts relating to this
      10
               action, has not fully completed discovery in this action, and has not completed its
      11
               preparation for trial. All of the responses contained herein are based upon such
      12
               information and are based upon such information and documents presently available to
      13
               and specifically known to Responding Party. It is anticipated that further discovery,
      14
               independent investigation, legal research and analysis may supply additional facts and
      15
               documents, add meaning to known facts, as well as establish new factual conclusions
      16
               and legal contentions, all of which may lead to substantial additions to, changes in and
      17
               variations from the contentions herein set forth.
      18             Responding Party reserves its rights, but assumes no obligation beyond those
      19       imposed by the Federal Rules of Civil Procedure, to produce evidence of any
      20       subsequently discovered facts or documents. Responding Party accordingly reserves

      21       the right to change any and all responses herein as additional documents may be

      22       discovered, facts are ascertained, analyses are made, legal research is completed, and

      23       contentions are made. The responses contained herein are made in agood faith effort to

      24       supply as much factual information and as much specification as is presently known,

      25
               but should in no way be prejudicial in relation to further discovery, research, and/or

               analysis.
      26
                     Except for explicit facts admitted herein, no incidental or implied admissions are
      27
               intended hereby. The fact that Responding Party has answered or objected to any of
      28


                                                       -2-
                MCCANDLESS GROUP LLC'S RESPONSE TO INTERROGATORIES FROM COUNTER-PLAINTIFF THE COY
                                                 COLLECTIVE, INC., SET ONE




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           1 Coy's Interrogatories or any part thereof should not be taken as an admission that

       2 Responding Party accepts or admits the existence of any facts set forth or assumed by

       3 such Interrogatory or that such answer or objection constitutes admissible evidence.

       4 The fact that Responding           Party has not answered part or all of any of Coy's

       5 Interrogatories is not intended and shall not be construed to be awaiver of all or any

       6 part of any objection to any Interrogatory propounded.

       7
                   Responding Party has made adiligent effort to respond to Coy's Interrogatories

             as it understands and interprets each such Interrogatory. If Coy subsequently asserts a
       8
             differing interpretation, Responding     Party reserves the right to supplement its
       9
             objections and/or responses.
      10
                                            GENERAL OBJECTIONS
      11
                   A.     Responding Party objects to the Interrogatories to the extent they call for
      12
             information subject to aclaim of privilege, including, without limitation, the attorney-
      13
             client privilege and/or the attorney-work product doctrine. Responding Party hereby
      14
             claims such privileges, and Responding Party will supply no information responsive
      15
             to any such Interrogatory. If any such information is produced, it will be deemed to be
      16
             inadvertent and not awaiver of any privilege, protection or doctrine.
      17
                   B.     Responding     Party objects to the Interrogatories to the extent Coy
      18     purports thereby to alter or extend Responding Party's obligation to respond to the
      19     Interrogatories beyond those set forth in the Federal Rules of Civil Procedure and
      20     applicable law.

      21           C.    Responding Party objects to the Interrogatories as unduly burdensome,

      22     oppressive and overbroad to the extent they (1) seek discovery obtainable from some

      23     source other than Responding Party that is more convenient, less burdensome or less

      24    expensive, or (2) seek information that could and should more appropriately be sought

      25
            through other means of discovery.

      26
                   D.    Responding Party objects to the Interrogatories to the extent they seek
            information that is neither relevant to the subject matter of this action, nor reasonably
      27
            calculated to lead to the discovery of admissible evidence.
      28

                                                     -3-
              MCCANDLESS GROUP LLC'S RESPONSE TO INTERROGATORIES FROM COUNTER-PLAINTIFF THE COY
                                             COLLECTIVE, INC., SET ONE




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       1         E.     Responding Party objects to the Interrogatories to the extent they call for

       2 legal conclusions. In Responding      to the Interrogatories, Responding Party will not

       3 disclose any legal conclusions or other information that involves a disclosure of his

       4 attorneys' impressions, conclusions, opinions, legal research, theories or work product.

       5         Subject to and without waiving the foregoing General Objections, Responding

       6 Party makes the following specific objections and supplemental responses to the

           Interrogatories:
       7

       8
                                          INTERROGATORIES
       9

      10
           INTERROGATORY NO. 1:
      11

      12         IDENTIFY ALL trade secrets YOU contend were misappropriated in YOUR

      13   COMPLAINT.

      14   RESPONSE TO INTERROGATORY NO. 1:

      15         CONFIDENTIAL

      16         Responding Party objects to this Interrogatory on the grounds that it is vague,

      17   overbroad, and unduly burdensome. Responding Party further objects to this request

      18
           on the grounds that it seeks information that is not relevant to the parties' respective

           claims or defenses and not reasonably calculated to lead to the discovery of admissible
      19
           evidence. Responding Party further objects to this request as it seeks information that
      20
           is not proportional to the needs and expediency of the case. Responding Party further
      21
           objects that the definition of the term "IDENTIFY" in this regard is vague, overbroad,
      22
           and unduly burdensome.
      23
                  Notwithstanding the above stated objections, Responding       Party responds as
      24
           follows: Defendants misappropriated McCandless Group's technology behind their
      25
           individual websites, referred to as the "technology stack." The "technology stack"
      26
           consists of utilizing servers node.js with express and MongoDB Database, react with
      27
           redux, FFmpeg to transcode and process videos, TinyPNG to compress images, S3 for
      28
           storing data, CloudFront to serve private content securely, Nginx to reverse proxy and

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       1 static server react builds, Socket io for chat, CCBill for payment processing, hosting

       2 services through Amazon AWS EC2 instances, S3 to store media files, Amazon Route

       3 53, and AWS CloudWatch to monitor server resource utilization.

       4         Further, the technology allows users to handle and manage data. Website

       5 settings are stored on MongoDB which decides theme and other options. Users can

       6 register and then subscribe to view exclusive content. Active subscribers can also
           engage in chat with the models. Subscribers can update profile settings and manage
       7
           their subscription access. Subscribers can tip and purchase locked content on the
       8
           model's exclusive content feed and in private chat. The technology stack includes
       9
           security and privacy protection, meaning that only users with a specific role can
      10
           access the data with the correct JWT token. API routes are also protected based on
      11
           user roles. Uploaded content is stored on S3 with aunique id and the content is served
      12
           with asigned url with CloudFront.
      13
                 Sites are built for scalability. Specifically, sites are hosted across infinitely
      14
           scalable AWS server instances to allow for no limitations of traffic, bandwidth, and
      15
           activity. Databases are hosted across MongoDB databases that are built for infinite
      16
           scalability. Dedicated server instances for video transcoding and processing services
      17   that websites leverage for videos. Image processing is carried out by the same node.js
      18   instance which is responsible for the API. This scalability gives the capacity to launch
      19   over 200 websites aweek.
      20         Additionally, the technology stack includes our dynamic watermarking feature.

      21   The watermarking feature assigns a unique watermark to each user address when

      22   visiting or viewing apiece of content. That way, if content is leaked, it is leaked with

      23   the unique watermark, allowing us to identify the account associated with the link and

      24   restrict that account's access moving forward. Once identified, DMCA practices are

      25
           used to enforce the Copyright and have leaked content removed from other sites.

                 Defendants also misappropriated McCandless Group's costs and accounting
      26
           structure. This includes identification and pricing for potential clients, which is based
      27
           on factors such as number of followers, engagement on social media posts, age of
      28

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       1   their social media accounts, how long their audience has been following them, and
       2   any niches that potential clients may have beyond their physical appearance. Utilizing

       3   these factors, we attempt to identify an appropriate revenue sharing proposal.

       4         Additionally, costs associated with launching a website often varies. For

       5   McCandless Group, our technology stack and streamlined technology makes the

       6   launch process extremely efficient and cost effective. Additional costs include servers

           and hosting, which are based on traffic to the site, payment processing fees, and
       7
           emails. Further, McCandless Group's revenue model, which is dependent on the
       8
           revenue sharing agreement, and calculated by utilizing the gross revenue, subtracting
       9
           the combined 6.95% payment processing fee, subtracting the total of chargebacks and
      10
           refunds, and then paying the client based on the agreed upon percentage of revenue.
      11
                 Further, McCandless group built asystem for handling collection, calculations,
      12
           and processing of payments for hundreds of clients. Each client had a subaccount
      13
           using CCBill to easily organize the revenue generated from each site in addition to the
      14
           fees and deductions. Those numbers were then plugged into our technology, creating
      15
           the revenue calculations stated above. An in-house reporting system was built to
      16
           generate amonthly report based on the calculations clearly laying out the amount of
      17   money owed to each client. Payments are now streamlined using Heartland for ACH
      18   payments, AMEX FX for international payments, and manually distributing payments
      19   via PayPal for asmall amount of clients.
      20         McCandless Group created a system for managing chargebacks, as remaining

      21   under 1% in terms of chargeback ratio is crucial to maintain good standing with major

      22   credit card companies. Utilizing technology to detect fraud such as limiting

      23   transactional amounts on new customers, monitoring for irregular activity, addressing

      24   customer concerns promptly, and ensuring clients are not abusing the system,

      25
           McCandless Group is able to maintain a chargeback percentage much lower than

           industry standard.
      26
                 McCandless Group has also developed important processes for optimizing
      27
           retention rates. Processes such as discounting all of the individually purchased content
      28


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            MCCANDLESS GROUP LLC'S RESPONSE TO INTERROGATORIES FROM COUNTER-PLAINTIFF THE COY
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       1 by apercentage, discounting asubscriber's first month or offering adiscount for the

       2 first    month   for   a returning   subscriber were   crucial processes   in   developing

       3 McCandless Group's retention rate. These processes were learned through exhaustive

       4 testing of promo offers, technologies, and strategies in order to optimize the retention

       5 rates.

       6          McCandless Group was also able to maximize their revenue through methods of

           working with their clients. For instance, McCandless Group developed aprocess to be
       7
           able to recommend pricing of subscriptions based on their content, audience, and data
       8
           retained on similar clients. The recommendations vary by clients but are suggested in
       9
           order to maximize the client's revenue. Marketing through social media and within the
      10
           websites in terms of the captions, messaging, and pricing for content have also proven
      11
           aprocess developed by McCandless Group through trial and error which maximizes
      12
           revenue.
      13
           INTERROGATORY NO. 2:
      14
                  IDENTIFY ALL COMMUNICATIONS from YOU to BARTLETT
      15
           containing ANY trade secret YOU contend was misappropriated in YOUR
      16
           COMPLAINT.
      17   RESPONSE TO INTERROGATORY NO. 2:
      18          Responding Party objects to this Interrogatory on the grounds that it is vague,
      19   overbroad, and unduly burdensome. Responding Party further objects to this request

      20   on the grounds that it seeks information that is not relevant to the parties' respective

      21   claims or defenses and not reasonably calculated to lead to the discovery of admissible

      22   evidence. Responding Party further objects to this request as it seeks information that

      23   is not proportional to the needs and expediency of the case.

      24
                  Notwithstanding the above stated objections, Responding Party responds that

           the following communications are known at this time: On May 25, 2020, Bartlett
      25
           texted Nick asking about minimum percentage tiers. On June 5, 2020, Nick emailed
      26
           Bartlett and Lewis regarding tiers for subscription pricing and chat management. On
      27
           August 7, 2020, Bartlett texted Nick questions surrounding compliance form 2257. In
      28


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       1 September of 2020, Bartlett reached out to Nick numerous times asking questions

       2 surrounding how McCandless Group handled certain aspects of their business for

       3 clients. September 28, 2020, Bartlett texted Nick asking how McCandless Group

       4 handled payouts to clients. On October 1, 2020, Bartlett texted Nick asking how

       5 McCandless Group calculates payouts to clients. On October 9, 2020, Bartlett texted

           Nick asking how McCandless Group calculated payments to clients.
       6
           INTERROGATORY NO. 3:
       7

       8         IDENTIFY ALL COMMUNICATIONS from YOU to LEWIS containing

       9
           ANY trade secret YOU contend was misappropriated in YOUR COMPLAINT.
      10   RESPONSE TO INTERROGATORY NO. 3:
      11         Responding Party objects to this Interrogatory on the grounds that it is vague,
      12   overbroad, and unduly burdensome. Responding Party further objects to this request

      13   on the grounds that it seeks information that is not relevant to the parties' respective

      14   claims or defenses and not reasonably calculated to lead to the discovery of admissible

      15   evidence. Responding Party further objects to this request as it seeks information that

      16   is not proportional to the needs and expediency of the case.

      17
                 Notwithstanding the above stated objections, Responding Party responds that

           the following communications are known at this time: On May 16, 2020, Nick, Lewis,
      18
           and Hankins had a phone call discussing use of high-risk payment processors. On
      19
           May 23, 2020, Nick emailed Lewis a detailed overview of McCandless Group's
      20
           "technology stack." On May 24, 2020, Nick emailed Lewis sample legal agreements.
      21
           On May 26, 2020, Lewis texted Nick asking about 2257 compliance forms. On May
      22
           27, 2020, Lewis and Nick had a text message exchange discussing the accounting
      23
           methods McCandless Group utilizes. On May 29, 2020, Lewis texted Nick regarding
      24
           sample agreements,    contract terms,   charge back percentages, and McCandless
      25
           Group's legal structure. On June 5, 2020, Lewis texted Nick asking about chargeback
      26   percentages, industry averages, and how McCandless Group handles chargebacks. On
      27   June 5, 2020, Nick emailed Bartlett and Lewis tiers for subscription pricing and chat
      28   management. On June 15, 2020, Lewis texted Nick asking about chargebacks. On

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       1 June 16, 2020, Lewis texted Nick about sales tax.        On June 23, 2020, Lewis texted

       2 Nick regarding McCandless Group accounting.

       3 INTERROGATORY NO. 4:

       4
                 IDENTIFY ALL COMMUNICATIONS from YOU to HANK1NS containing
       5
           ANY trade secret YOU contend was misappropriated in YOUR COMPLAINT.
       6
           RESPONSE TO INTERROGATORY NO. 4:
       7
                 Responding Party objects to this Interrogatory on the grounds that it is vague,
       8
           overbroad, and unduly burdensome. Responding Party further objects to this request
       9
           on the grounds that it seeks information that is not relevant to the parties' respective
      10   claims or defenses and not reasonably calculated to lead to the discovery of admissible
      11   evidence. Responding Party further objects to this request as it seeks information that
      12   is not proportional to the needs and expediency of the case.

      13         Not withstanding the previously stated objections, Responding Party responds

      14   that the following communications are known at this time: On May 16, 2020, Nick,

      15   Lewis, and Hankins had aphone call discussing use of high-risk payment processors.

      16   INTERROGATORY NO. 5:

      17         IDENTIFY ALL COMMUNICATIONS from YOU to DREW containing
      18
           ANY trade secret YOU contend was misappropriated in YOUR COMPLAINT.
      19
           RESPONSE TO INTERROGATORY NO. 5:
      20
                 Responding Party objects to this Interrogatory on the grounds that it is vague,
      21
           overbroad, and unduly burdensome. Responding Party further objects to this request
      22   on the grounds that it seeks information that is not relevant to the parties' respective
      23   claims or defenses and not reasonably calculated to lead to the discovery of admissible
      24   evidence. Responding Party further objects to this request as it seeks information that

      25   is not proportional to the needs and expediency of the case.

      26         Not withstanding the previously stated objections, Responding Party responds

      27   that the following communications are known at this time: On May 19, 2020, Nick

      28   had an email exchange with Drew relating to costs associated with the websites. On

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       1 May 21, 2020, Nick and Drew exchanged emails regarding the building of websites.

       2 On May 27, 2020, Nick and Drew exchanged emails regarding the structure of

       3 websites. On May 28, 2020, Drew texted Nick regarding the building of websites. On

       4 July 9, 2020, Drew emailed Nick regarding security technology on websites. On July

       5 29, 2020, Nick sent Drew an email regarding terms of the partnership. On August 13,

       6 2020, Nick and Drew exchanged emails regarding payouts.
           INTERROGATORY NO. 6:
       7

       8         IDENTIFY ALL COMMUNICATIONS from YOU to COY containing ANY

       9 trade secret YOU contend was misappropriated in YOUR COMPLAINT.

      10
           RESPONSE TO INTERROGATORY NO. 6:
      11         Responding Party objects to this Interrogatory on the grounds that it is vague,
      12   overbroad, and unduly burdensome. Responding Party further objects to this request
      13   on the grounds that it seeks information that is not relevant to the parties' respective

      14   claims or defenses and not reasonably calculated to lead to the discovery of admissible

      15   evidence. Responding Party further objects to this request as it seeks information that

      16   is not proportional to the needs and expediency of the case.

      17         Notwithstanding the above stated objections, Responding Party responds that

      18
           the following communications are known at this time: On May 16, 2020, Nick and

           Lewis had aphone call discussing use of high-risk payment processors. On May 23,
      19
           2020, Nick emailed Lewis adetailed over view of McCandless Group's "technology
      20
           stack." On May 24, 2020, Nick emailed Lewis sample legal agreements. On May 26,
      21
           2020, Lewis texted Nick asking about 2257 compliance forms. On May 27, 2020,
      22
           Lewis and Nick had a text message exchange discussing the accounting methods
      23
           McCandless Group utilizes. On May 29, 2020, Lewis texted Nick regarding sample
      24
           agreements, contract terms, charge back percentages, and McCandless Group's legal
      25
           structure. On June 5, 2020, Lewis texted Nick asking about chargeback percentages,
      26
           industry averages, and how McCandless Group handles chargebacks. On June 5,
      27   2020, Nick emailed Bartlett and Lewis tiers for subscription pricing and chat
      28   management. On June 15, Lewis texted Nick asking about chargebacks. On June 16,

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                                                     -




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       1 2020, Lewis texted Nick about sales tax.         On June 23, 2020, Lewis texted Nick

       2 regarding McCandless Group accounting. On May 25, 2020, Bartlett texted Nick

       3 asking about minimum percentage tiers. On June 5, 2020, Nick emailed Bartlett and

       4 Lewis regarding tiers for subscription pricing and chat management. On August 7,

       5 2020, Bartlett texted Nick questions surrounding compliance form 2257. In September
           of 2020, Bartlett reached out to Nick numerous times asking questions surrounding
       6
           how McCandless Group handled certain aspects of their business for clients.
       7
           September 28, 2020, Bartlett texted Nick asking how McCandless Group handled
       8
           payouts to clients. On October 1, 2020, Bartlett texted Nick asking how McCandless
       9
           Group calculates payouts to clients. On October 9, 2020, Bartlett texted Nick asking
      10
           how McCandless Group calculated payments to clients.
      11
           INTERROGATORY NO. 7:
      12
                 State ALL of YOUR efforts to maintain the secrecy or confidentiality of ANY of
      13
           YOUR trade secrets that YOU contend were misappropriated in YOUR COMPLAINT.
      14
           RESPONSE TO INTERROGATORY NO. 7:
      15
                 CONFIDENTIAL
      16
                 Responding Party objects to this Interrogatory on the grounds that it is vague,
      17
           overbroad, and unduly burdensome. Responding Party further objects to this request
      18
           on the grounds that it seeks information that is not relevant to the parties' respective
      19
           claims or defenses and not reasonably calculated to lead to the discovery of admissible
      20
           evidence. Responding Party further objects to this request as it seeks information that
      21   is not proportional to the needs and expediency of the case.
      22         Notwithstanding the previously stated objections, Responding Party responds
      23   as follows: All parties who gain access to this information are subject to Non-

      24   Disclosure Agreements and the confidentiality provisions. Source code is managed

      25   and maintained using Bitbucket using Git as aversion control system. All repositories

      26   are private. Websites are hosted with SSL so the transport layer is secured, and

      27   Bitbucket is utilized for source code management. All websites are hosted securely

      28   through AWS. Hosted servers have restricted SSH access with IP addresses. All


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       1 databases are hosted on MongoDB Atlas on AWS and are only accessible via specific

       2 IP addresses. All media fields are hosted on AWS S3, each bucket of the S3 utilizing

       3 separate credentials. Media is delivered with AWS CloudFront with signed uris with

       4 expiration times of six hours. Only limited team members have access to MFA code

       5 for Amazon Web Services. All AWS activity is logged via AWS trail. Database is

       6 secured using MongoDB database with Atlas via MongoDB.com utilizing one root

       7
           account with two-factor authentication. All databases are protected using username

           and password and are only allowed access via specific IP addresses via website
       8
           servers with static IP addresses.
       9
           INTERROGATORY NO. 8:
      10

      11          IDENTIFY ALL PERSONS with knowledge of ANY of YOUR trade secrets

      12   that YOU contend were misappropriated in YOUR COMPLAINT.
      13
           RESPONSE TO INTERROGATORY NO. 8:
      14
                  Responding Party objects to this Interrogatory on the grounds that it is vague,
      15
           overbroad, and unduly burdensome. Responding Party further objects to this request
      16
           on the grounds that it seeks information that is not relevant to the parties' respective
      17   claims or defenses and not reasonably calculated to lead to the discovery of admissible
      18   evidence. Responding Party further objects to this request as it seeks information that
      19   is not proportional to the needs and expediency of the case.

      20          Notwithstanding the previously stated objections, Responding Party responds

      21   that, other than the defendants, the following individuals are known at this time: Jason

      22   Moskowitz, McCandless Group, LLC, 990 Paseo La Cresta, Palos Verdes Estates, CA

      23   90274. Scot Robinson, McCandless Group, LLC, 4548 Marloma Dr., Rolling Hills

           Estates, CA 90274. Yogesh Prajapati, Rayo Innovations Private Limited, 803,
      24
           Landmark Building, Opp.       Seema Hall, Anandnangar Road, Ahmedabad, India,
      25
           380015. Krushna Joshi, Rayo Innovations Private Limited, 803, Landmark Building,
      26
           Opp.   Seema Hall, Anandnangar Road, Ahmedabad,                 India,   380015.   Himanshu
      27
           Makwana, Rayo Innovations Private Limited, 803, Landmark Building, Opp. Seema
      28


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       1 Hall,    Anandnangar Road, Ahmedabad, India, 380015. Bhavesh Panchal, Rayo

       2 Innovations     Private   Limited,     803,   Landmark     Building,   Opp.   Seema   Hall,

       3 Anandnangar Road, Ahmedabad, India, 380015. Bhavesh Gohil, Rayo Innovations

       4 Private Limited, 803, Landmark Building, Opp. Seema Hall, Anandnangar Road,

       5 Ahmedabad, India, 380015. Siddharth Sukhadia, Rayo Innovations Private Limited,

           803, Landmark Building, Opp. Seema Hall, Anandnangar Road, Ahmedabad, India,
       6
           380015. Krunal Joshi, Rayo Innovations Private Limited, 803, Landmark Building,
       7
           Opp. Seema Hall, Anandnangar Road, Ahmedabad, India, 380015. Harsh Thakkar,
       8
           Rayo Innovations Private Limited, 803, Landmark Building, Opp. Seema Hall,
       9
           Anandnangar Road, Ahmedabad, India, 380015. Prashnat Paun, Rayo Innovations
      10
           Private Limited, 803, Landmark Building, Opp. Seema Hall, Anandnangar Road,
      11
           Ahmedabad, India, 380015. Ritesh Patel, Rayo Innovations Private Limited, 803,
      12
           Landmark Building, Opp. Seema Hall, Anandnangar Road, Ahmedabad, India,
      13
           380015. Karan Raja, Rayo Innovations Private Limited, 803, Landmark Building,
      14
           Opp. Seema Hall, Anandnangar Road, Ahmedabad, India, 380015. Himalay Parmar,
      15   Rayo Innovations Private Limited, 803, Landmark Building, Opp. Seema Hall,
      16   Anandnangar Road, Ahmedabad, India, 380015.

      17   INTERROGATORY NO. 9:

      18
                 Describe ANY use of YOUR trade secrets that YOU contend has been carried
      19
           out by COY.
      20
           RESPONSE TO INTERROGATORY NO. 9:
      21
                 CONFIDENTIAL
      22
                 Responding Party objects to this Interrogatory on the grounds that it is vague,
      23
           overbroad, and unduly burdensome. Responding Party further objects to this request
      24
           on the grounds that it seeks information that is not relevant to the parties' respective
      25
           claims or defenses and not reasonably calculated to lead to the discovery of admissible
      26   evidence. Responding Party further objects to this request as it seeks information that
      27   is not proportional to the needs and expediency of the case.

      28         Notwithstanding the previously stated objections, Responding Party responds

                                                    13  -   -




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       1 as follows: COY utilized McCandless Group's "technology stack" to build their own

       2 websites independent of McCandless Group, COY utilized McCandless Group's cost,

       3 accounting structure, and revenue model to build a competing business, and COY

       4 utilized   McCandless     Group's    connections      within    the   industry   to   set up   the

       5 infrastructure for Coy Collective. Coy further utilized McCandless Group's trade

           secrets to compete directly with McCandless Group, targeting clients already in
       6
           discussion with McCandless Group and attempting to undersell McCandless Group by
       7
           divulging confidential information to the potential clients.
       8
           INTERROGATORY NO. 10:
       9

      10         IDENTIFY ALL COMMUNICATIONS from COY that YOU contend contained

      11
           afalse or misleading statement as alleged by YOUR COMPLAINT.

           RESPONSE TO INTERROGATORY NO. 10:
      12
                 Responding Party objects to this Interrogatory on the grounds that it is vague,
      13
           overbroad, and unduly burdensome. Responding Party further objects to this request
      14
           on the grounds that it seeks information that is not relevant to the parties' respective
      15
           claims or defenses and not reasonably calculated to lead to the discovery of admissible
      16
           evidence. Responding Party further objects to this request as it seeks information that
      17
           is not proportional to the needs and expediency of the case.
      18
                 Not withstanding the previously stated objections, Responding Party responds
      19
           that the following communications are known at this time: On May 6, 2020, Bartlett
      20
           texted Nick about an idea for asubscription based project she wanted to partner with
      21   McCandless on. On May 9, 2020, Bartlett and Lewis called Nick to discuss her
      22   business proposal they wanted to partner with McCandless on. On May 16, 2020,

      23   Nick, Lewis, Hankins, and Bartlett had a telephone call in which the Defendants

      24   indicated that they wanted to partner with McCandless Group, that the two could

      25   mutually work together to form alucrative, non-competitive partnership. On May 19,

      26   2020, Lewis texted Nick stating, "trust when Isay Ihave the people who will be

           willing to make that happen once we excite on our partnership properly." On May 22,
      27
           2020, Lewis texted Nick introducing him to a potential client as his technology
      28


                                                    14 -   -




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       1 partner. On May 23, 2020, Lewis texted Nick informing Nick that he refers to Nick as

       2 his technology partner and uses the terms we when speaking to third parties. On June

       3   16, 2020, Drew texted Nick a message in which referred to their relationship as a

       4 friendship and as business partners. On July 8, 2020, Lewis texted Nick and Drew

       5 asking how Nick wanted to go about finalizing the partnership agreement between the

       6
           Coy Collective and McCandless Group. On July 29, 2020, Lewis texted Nick

           regarding the paperwork pertaining to the partnership, stating "it's apartnership that is
       7
           meant to be awinning situation for everyone...." On October 7, 2020, Bartlett texted
       8
           Nick stating that she only ever told prospective clients good things about McCandless
       9
           Group, that they were not competing, and that it might be helpful to inform Coy of
      10
           who McCandless was pursuing so that there would be no overlap. On or about
      11
           October 15, 2020, Bartlett told Nick that she viewed the relationship between Coy and
      12
           McCandless    Group as mutually beneficial and wished to maintain a healthy
      13
           partnership. On October 19, 2020, Bartlett texted Nick stating, "[i]n my eyes, this is a
      14
           mutually beneficial partnership without competition...." On October 19, 2020, Bartlett
      15   texted Nick stating, "[m]y main concern is keeping a healthy partnership...." On
      16   October 30, 2020, Bartlett texted Nick regarding whether or not communications
      17   regarding the partnership between The Coy Collective and McCandless Group should

      18   be directed towards Nick or Jason Moskowitz.

      19   INTERROGATORY NO. 11:

      20         IDENTIFY ALL COMMUNICATIONS from BARTLETT that YOU contend
      21   contained afalse or misleading statement as alleged by YOUR COMPLAINT.
      22
           RESPONSE TO INTERROGATORY NO. 11:
      23
                  Responding Party objects to this Interrogatory on the grounds that it is vague,
      24
           overbroad, and unduly burdensome. Responding Party further objects to this request
      25
           on the grounds that it seeks information that is not relevant to the parties' respective
      26   claims or defenses and not reasonably calculated to lead to the discovery of admissible
      27   evidence. Responding Party further objects to this request as it seeks information that

      28   is not proportional to the needs and expediency of the case.

                                                    15-




            MCCANDLESS GROUP LLC'S RESPONSE TO INTERROGATORIES FROM COUNTER-PLAINTIFF THE COY
                                            COLLECTIVE, INC., SET ONE




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       1         Not withstanding the previously stated objections, Responding Party responds
       2 that the following communications are known at this time: On May 6, 2020, Bartlett

       3 texted Nick about an idea for asubscription based project she wanted to partner with

       4 McCandless on. On May 9, 2020, Bartlett and Lewis called Nick to discuss her

       5 business proposal they wanted to partner with McCandless on. On May 16, 2020,
           Nick, Lewis, Hankins, and Bartlett had a telephone call in which the Defendants
       6
           indicated that they wanted to partner with McCandless Group, that the two could
       7
           mutually work together to form alucrative, non-competitive partnership. On October
       8
           7, 2020, Bartlett texted Nick stating that she only ever told prospective clients good
       9
           things about McCandless Group, that they were not competing, and that it might be
      10
           helpful to inform Coy of who McCandless was pursuing so that there would be no
      11
           overlap. On or about October 15, 2020, Bartlett told Nick that she viewed the
      12
           relationship between Coy and McCandless Group as mutually beneficial and wished
      13
           to maintain ahealthy partnership. On October 19, 2020, Bartlett texted Nick stating,
      14   "[i]n my eyes, this is a mutually beneficial partnership without competition.   ... "   On
      15   October 19, 2020, Bartlett texted Nick stating, "[m]y main concern is keeping a
      16   healthy partnership...." On October 30, 2020, Bartlett texted Nick regarding whether

      17   or not communications regarding the partnership between The Coy Collective and

      18   McCandless Group should be directed towards Nick or Jason Moskowitz.

      19   INTERROGATORY NO. 12:

      20         IDENTIFY ALL COMMUNICATIONS from LEWIS that YOU contend
      21
           contained afalse or misleading statement as alleged by YOUR COMPLIANT.
      22
           RESPONSE TO INTERROGATORY NO. 12:
      23
                 Responding Party objects to this Interrogatory on the grounds that it is vague,
      24
           overbroad, and unduly burdensome. Responding Party further objects to this request
      25   on the grounds that it seeks information that is not relevant to the parties' respective
      26   claims or defenses and not reasonably calculated to lead to the discovery of admissible
      27   evidence. Responding Party further objects to this request as it seeks information that

      28   is not proportional to the needs and expediency of the case.

                                                    16-
                                                      -




            MCCANDLESS GROUP LLC'S RESPONSE TO INTERROGATORIES FROM COUNTER-PLAiNTIFF THE COY
                                            COLLECTIVE, INC., SET ONE




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       1         Not withstanding the previously stated objections, Responding Party responds
       2 that the following communications are known at this time:        On May 9, 2020, Bartlett

       3 and Lewis called Nick to discuss her business proposal they wanted to partner with

       4 McCandless on. On May 16, 2020, Nick, Lewis, Hankins, and Bartlett had atelephone

       5 call in which the Defendants indicated that they wanted to partner with McCandless
           Group, that the two could mutually work together to form alucrative, non-competitive
       6
           partnership. On May 19, 2020, Lewis texted Nick stating, "trust when Isay Ihave the
       7
           people who will be willing to make that happen once we excite on our partnership
       8
           properly." On May 22, 2020, Lewis texted Nick introducing him to apotential client
       9
           as his technology partner. On May 23, 2020, Lewis texted Nick informing Nick that
      10
           he refers to Nick as his technology partner and uses the terms we when speaking to
      11
           third parties. On July 8, 2020, Lewis texted Nick and Drew asking how Nick wanted
      12
           to go about finalizing the partnership agreement between the Coy Collective and
      13
           McCandless Group. On July 29, 2020, Lewis texted Nick regarding the paperwork
      14   pertaining to the partnership, stating "it's apartnership that is meant to be awinning
      15   situation for everyone...."
      16   INTERROGATORY NO. 13:

      17
                 IDENTIFY ALL COMMUNICATIONS from HANKTh1S that YOU contend
      18
           contained afalse or misleading statement as alleged by YOUR COMPLAINT.
      19
           RESPONSE TO INTERROGATORY NO. 13:
      20
                 Responding Party objects to this Interrogatory on the grounds that it is vague,
      21
           overbroad, and unduly burdensome. Responding Party further objects to this request
      22
           on the grounds that it seeks information that is not relevant to the parties' respective
      23
           claims or defenses and not reasonably calculated to lead to the discovery of admissible
      24
           evidence. Responding Party further objects to this request as it seeks information that
      25
           is not proportional to the needs and expediency of the case.
      26         Not withstanding the previously stated objections, Responding Party responds
      27   that the following communications are known at this time: On May 16, 2020, Nick,
      28   Lewis, Hankins, and Bartlett had atelephone call in which the Defendants indicated

                                                    17-




            MCCANDLESS GROUP LLC'S RESPONSE TO INTERROGATORIES FROM COUNTER-PLAINTIFF THE COY
                                            COLLECTIVE, INC., SET ONE




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       1 that they wanted to partner with McCandless Group, that the two could mutually work

       2 together to form alucrative, non-competitive partnership.

       3 INTERROGATORY NO. 14:

       4
                 IDENTIFY ALL COMMUNICATIONS from DREW that YOU contend
       5
           contained afalse or misleading statement as alleged by YOUR COMPLAINT.
       6
           RESPONSE TO INTERROGATORY NO.14:
       7
                 Responding Party objects to this Interrogatory on the grounds that it is vague,
       8
           overbroad, and unduly burdensome. Responding Party further objects to this request
       9
           on the grounds that it seeks information that is not relevant to the parties' respective
      10
           claims or defenses and not reasonably calculated to lead to the discovery of admissible
      11   evidence. Responding Party further objects to this request as it seeks information that
      12   is not proportional to the needs and expediency of the case.

      13         Not withstanding the previously stated objections, Responding Party responds

      14   that the following communications are known at this time: On July 8, 2020, Lewis

      15   texted Nick and Drew asking how Nick wanted to go about finalizing the partnership

      16   agreement between the Coy Collective and McCandless Group. On July 29, 2020,

      17
           Nick emailed Drew regarding the terms of the partnership.

           INTERROGATORY NO. 15:
      18

      19         IDENTIFY ALL advertisements, solicitations, or COMMUNICATIONS with

      20
           ANY past, current, or potential customer referring in ANY way to BARTLETT,
      21
           INCLUDING by using ANY image of BARTLETT.
      22

           RESPONSE TO INTERROGATORY NO. 15:
      23
                 Responding Party objects to this Interrogatory on the grounds that it is vague,
      24
           overbroad, and unduly burdensome. Responding Party further objects to this request
      25
           on the grounds that it seeks infoiination that is not relevant to the parties' respective
      26
           claims or defenses and not reasonably calculated to lead to the discovery of admissible
      27
           evidence. Responding Party further objects to this request as it seeks information that
      28


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            MCCANDLESS GROUP LLC'S RESPONSE TO INTERROGATORIES FROM COUNTER-PLAINTIFF THE COY
                                            COLLECTIVE, INC., SET ONE




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       1 is not proportional to the needs and expediency of the case.

       2         Notwithstanding the previously stated objections, Responding Party responds

       3 as follows: The requested material is stored within Instagram and is not readily

       4 available. As aresult, arequest has been made of Instagram to download the requested

       5 data so that it may be searched. Once this information is available, Responding Party

       6 agrees to supplement this response providing any relevant, non-privileged information

           within the purview of this request.
       7
           INTERROGATORY NO. 16:
       8

       9         Identify ALL servers YOU have used to store ANY image or video of

      10   BARTLETT.

      11   RESPONSE TO INTERROGATORY NO. 16:

                 CONFIDENTIAL
      12
                 Responding Party objects to this Interrogatory on the grounds that it is vague,
      13
           overbroad, and unduly burdensome. Responding Party further objects to this request
      14
           on the grounds that it seeks information that is not relevant to the parties' respective
      15
           claims or defenses and not reasonably calculated to lead to the discovery of admissible
      16
           evidence. Responding Party further objects to this request as it seeks information that
      17
           is not proportional to the needs and expediency of the case.
      18
                 Notwithstanding the previously stated objections, Responding Party responds
      19
           as follows: Photos and videos of Bartlett on JessicaMBartlett.com were stored in aS3
      20
           bucket and the media uris were served securely with an API hosted on aAWS server
      21
           with the following information: EC2 Instance ID i-0aee80fbff98f7d7f Public IP
      22
           13.56.192.150 EC2 region N. California S3 region us-west-l."
      23   INTERROGATORY NO. 17:
      24
           Identify ALL servers YOU have used to store ANY image or video of ANY COY
      25
           CREATORS.
      26
           RESPONSE TO INTERROGATORY NO. 17:
      27
                 CONFIDENTIAL
      28         Responding Party objects to this Interrogatory on the grounds that it is vague,

                                                    19-




            MCCANDLESS GROUP LLC'S RESPONSE TO INTERROGATORIES FROM COUNTER-PLAINTIFF THE COY
                                            COLLECTIVE, INC., SET ONE




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       1   overbroad, and unduly burdensome. Responding Party further objects to this request
       2   on the grounds that it seeks information that is not relevant to the parties' respective

       3   claims or defenses and not reasonably calculated to lead to the discovery of admissible

       4   evidence. Responding Party further objects to this request as it seeks information that

       5   is not proportional to the needs and expediency of the case.

       6
                 Notwithstanding the previously stated objections, Responding Party responds

       7
           as follows: Phots and Videos of Coy Creators were stored on the following:

       8

       9
            Websit     EC2 Instance Id       Public IP           Instance     EC2 Region        S3
      10    e                                                    Type                          Re
                                                                                               gio
      11
                                                                                               n
      12
            Jessica    i-0aee80fbff98f7d7f   13.56.192.150       t3.2xlarge   N. California    us-
      13    MBartl                                                                             we
            ett,com                                                                            st-
      14                                                                                        1

      15    KikiPa     i-0aee80fbff98f7d7f   13.56.192.150       t3.2xlarge   N. California    us-
            sso.co                                                                             we
      16
            In                                                                                 st-
      17

      18    NataGa     i-0aee80fbff98f7d7f   13.56.192.150       t3.2xlarge   N. California    us-
            ta.com                                                                             we
      19                                                                                       st-
                                                                                                1
      20
            TheAle     i-0aee80fbff98f7d7f   13.56.192.150       t3.2xlarge   N. California    us-
      21    xaColli                                                                            we
            ns.com                                                                             st-
      22
                                                                                                1
      23
            TheAle     i-0aee801bff98f7d7f   13.56.192.150       t3.2xlarge   N. California    us-
      24    xisClar                                                                            we
            k.com                                                                              st-
      25                                                                                        1

      26    Sincere    i-0aee80fbff98f7d7f   13.56.192.150       t3.2xlarge   N. California    us-
            lyJuju.c                                                                           we
      27
            om                                                                                 st-
      28                                                                                        1


                                                    20   -   -




            MCCANDLESS GROUP LLC'S RESPONSE TO INTERROGATORIES FROM COUNTER-PLAINTIFF THE COY
                                             COLLECTIVE, INC., SET ONE




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       I
             Sabina     i-0aee80thff98f7d7f   13.56.192.150        t3.2xlarge   N. California   us-
       2     Kontor.                                                                            we
             corn                                                                               st-
       3

       4     Vaness     i-0bfe5b97eecfd6a35   54.241.198.178       t3.xlarge    N. California   us-
             aChristi                                                                           we
       5     neX.co                                                                             st-
             m                                                                                  1
       6
             AshayE     i-0bfe5b97eecfd6a35   54.241.198.178       t3.xlarge    N. California   us-
       7
             Hale.co                                                                            we
       8     m                                                                                  St-
                                                                                                1
       9
             Mikayl     i-0bfe5b97eecfd6a35   54.241.198.178       t3.xlarge    N. California   us-
      10     aDemai                                                                             we
             ter.com                                                                            st-
      11

      12
             Dasha-     i-0bfe5b97eecfd6a35   54.241.198.178       t3.xlarge    N. California   us-
      13     Mart,co                                                                            we
             m                                                                                  st-
      14

      15     Megha      i-0bfe5b97eecfd6a35   54.241.198.178       t3.xlarge    N. California   us-
             nMariie                                                                            we
      16     .com                                                                               St-
                                                                                                1
      17

      18    MacyM       i-0bfe5b97eecfd6a35   54.241.198.178       t3.xlarge    N. California   us-
            ariano.                                                                             we
      19    corn                                                                                St-
                                                                                                1
      20

      21
           INTERROGATORY NO. 18:
      22
                  STATE all terms of the "partnership" alleged by YOUR COMPLAINT.
      23

      24   RESPONSE TO INTERROGATORY NO. 18:

      25          Responding Party objects to this Interrogatory on the grounds that it is vague,

      26   overbroad, and unduly burdensome. Responding Party further objects to this request

           on the grounds that it seeks information that is not relevant to the parties' respective
      27
           claims or defenses and not reasonably calculated to lead to the discovery of admissible
      28

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            MCCANDLESS GROUP LLC'S RESPONSE TO INTERROGATORIES FROM COUNTER-PLAINTIFF THE COY
                                              COLLECTIVE, INC., SET ONE




                                                                                                Page 137
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       1   evidence. Responding Party further objects to this request as it seeks information that
       2   is not proportional to the needs and expediency of the case.

       3          Notwithstanding the previously stated objections, Responding Party responds

       4   as follows: McCandless Group and The Coy Collective, operated by Defendants

       5   Bartlett, Drew, Hankins, and Lewis were to work hand in hand in operating the Coy

       6   Collective. Coy was going to be a subscription based service for models and

       7
           influencers to receive benefits and services not currently offered in the marketplace,

           such as management, setting up professional photoshoots, social media, content
       8
           creation, and marketing. In addition, Coy wanted McCandless Group to be the
       9
           technology partner, building Coy clients subscription based websites similar to the
      10
           one McCandless built for Bartlett.
      11
                 McCandless Group and Coy entered into aWebsite Development Agreement
      12
           ("WDA") after the defendants had all executed NDA's. The WIDA set forth the terms
      13
           for developing the websites, the compensation in the form of amonthly service fee
      14
           depending on the amount of traffic the websites would get, further confidentiality
      15
           provisions prohibiting the parties from revealing any confidential or proprietary
      16
           information to a third party, ownership of the intellectual property, which was to
      17
           remain with the McCandless Group, and further provisions. The WDA also set forth
      18   the compensation between the partners, which was a revenue sharing agreement
      19   between the parties. Bartlett executed the WDA on behalf of Coy Collective.
      20         During this period of partnership/joint venture, Defendants agreed that they
      21   would not be competing with the McCandless Group for clients, and that their targeted

      22   clients came from a different demographic and that they were operating adifferent

      23   business than that of McCandless Group. This was a key component of the

      24   partnership.

      25
           INTERROGATORY NO. 19:
                 STATE all terms of the "joint venture" alleged by YOUR COMPLAINT.
      26
           RESPONSE TO INTERROGATORY NO. 19:
      27
                 Responding Party objects to this Interrogatory on the grounds that it is vague,
      28


                                                    22
                                                     -   -




            MCCANDLESS GROUP LLC'S RESPONSE TO INTERROGATORIES FROM COUNTER-PLAINTIFF THE COY
                                           COLLECTIVE, INC., SET ONE




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       1   overbroad, and unduly burdensome. Responding Party further objects to this request
       2   on the grounds that it seeks information that is not relevant to the parties' respective

       3   claims or defenses and not reasonably calculated to lead to the discovery of admissible

       4   evidence. Responding Party further objects to this request as it seeks information that

       5   is not proportional to the needs and expediency of the case.

       6         Notwithstanding the previously stated objections, Responding Party responds

       7
           as follows: McCandless Group and The Coy Collective, operated by Defendants

           Bartlett, Drew, Hankins, and Lewis were to work hand in hand in operating the Coy
       8
           Collective. Coy was going to be a subscription based service for models and
       9
           influencers to receive benefits and services not currently offered in the marketplace,
      10
           such as management, setting up professional photoshoots, social media, content
      11
           creation, and marketing. In addition, Coy wanted McCandless Group to be the
      12
           technology partner, building Coy clients subscription based websites similar to the
      13
           one McCandless built for Bartlett.
      14
                 McCandless Group and Coy entered into aWebsite Development Agreement
      15
           ("WDA") after the defendants had all executed NDA's. The WDA set forth the terms
      16
           for developing the websites, the compensation in the form of amonthly service fee
      17
           depending on the amount of traffic the websites would get, further confidentiality
      18   provisions prohibiting the parties from revealing any confidential or proprietary
      19   information to a third party, ownership of the intellectual property, which was to
      20   remain with the McCandless Group, and further provisions. The WDA also set forth

      21   the compensation between the partners, which was a revenue sharing agreement

      22   between the parties. Bartlett executed the WDA on behalf of Coy Collective.

      23         During this period of partnership/joint venture, Defendants agreed that they

      24   would not be competing with the McCandless Group for clients, and that their targeted

      25
           clients came from a different demographic and that they were operating adifferent

           business than that of McCandless Group. This was a key component of the
      26
           partnership.
      27

      28


                                                    23
                                                     -   -




            MCCANDLESS GROUP LLC'S RESPONSE TO INTERROGATORIES FROM COUNTER-PLAINTIFF THE COY
                                           COLLECTIVE, INC., SET ONE




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       1 Dated: April 11, 2023               GERARD Fox LAW, P.C.

       2

       3                                     By:
                                                   Gerard P. Fox
       4                                           Attorneys for Counter-defendant
                                                   MCCANDLESS GROUP, LLC
       5

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           MCCANDLESS GROUP LLC'S RESPONSE TO INTERROGATORIES FROM COUNTER-PLAINTIFF THE COY
                                        COLLECTIVE, INC., SET ONE




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       I                                           PROOF OF SERVICE

       2
                ILue Wahjudi, Iam employed in the County of Los Angeles, in the State of California. Iam
       3 over the age of 18 and not aParty to the above referenced matter. My business address is: GERARD
         FOX LAW P.C., 1880 Century Park East, Suite 1410, Los Angeles, CA 90067.
       4
                On April 11, 2023, Iserved the following documents, described as: MCCANDLESS GROUP
       5 LLC'S RESPONSE TO INTERROGATORIES FROM COUNTER-PLAINITFF THE COY COLLECTIVE, INC.,
         SET ONE, on the person(s) listed in the attached Service List. The documents were served by the
       6 following means:

       7                 By Personal Service. Ipersonally delivered the documents to the persons at the
                         addresses listed in the attached Service List. For aParty represented by an attorney,
       8                 delivery was made to the attorney or at the attorney's office by leaving the documents, in
                         an envelope or package clearly labeled to identify the attorney being served, with a
       9                 receptionist or an individual in charge of the office, between the hours of 9a.m. and 5
                         p.m. For aParty, delivery was made to the Party or by leaving the documents at the
      10
                         Party's residence with some person not younger than 18 years of age.
                         By United States Mail. Ienclosed the documents in asealed envelope or package
      11
                         addressed to the persons listed in the attached Service List and placed the envelope for
                         collection and mailing following our ordinary business practices. Iam readily familiar
      12
                         with this business's practice for collecting and processing correspondence for mailing.
                         On the same day that correspondence is placed for collection and mailing, it is deposited
      13
                         in the ordinary course of business with the United States Postal Service, in asealed
                         envelope with postage fully prepaid.
      14
                         By Overnight Delivery. Ienclosed the documents in an envelope or package provided
                         by an overnight delivery carrier and addressed to the persons at the addresses listed in the
      15
                         attached Service List. Iplaced the envelope or package for collection and overnight
                         delivery at an office or aregularly utilized drop box of the overnight delivery carrier.
      16
                         By Messenger Service. Iserved the documents by placing them in an envelope or
                         packing addressed to the persons at the addresses listed in the attached Service List and
      17
                         providing them to aprofessional messenger service for delivery.
                         By Electronic Mail: By transmitting the document by electronic mail to the electronic
      18
               fl        mail address as stated on the attached service list.
      19                 By Electronic Service: Based on acourt order or an agreement of the parties to accept
                         service by electronic transmission, Icaused the documents to be sent to the persons at the
      20                 electronic notification addresses listed in the attached Services List. Idid not receive,
                         within areasonable time after the transmission, any electronic message or other indication
      21                 that the transmission was unsuccessful.

      22           Ideclare under penalty of perjury under the laws of the State of California that the foregoing is
           true and correct.
      23

      24   Date:    April 11, 2023                                        /s/Lue Wahiudi
                                                                           Lue Wahjudi
      25

      26

      27

      28

                                                             -   25   -




           MCCANDLESS GROUP LLC AND NICHOLAS MCCANDLESS' RESPONSE TO REQUEST FOR PRODUCTION OF
                       DOCUMENTS FROM DEFENDANT THE COY COLLECTIVE, INC., SET ONE




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         1
                                                  Service List
         2

         3 COLIN H. ROLFS (State Bar No. 280654)
                                                             Attorney for Defendants and
                                                             Counterclaimants
           MILLER BARONDESS, LLP
           1999 Avenue of the Stars, Suite 1000
                                                             The Coy Collective, Inc., Jessica
           Los Angeles California 90067
         5 Telephone: ('310) 552-4400                        Bartlett, Cristina Dospassos, Corey
           Facsimile: 310) 552-8400                          Lewis, Robert Hankins, and Thomas
         6 Email: crolfs@millerbarondess.com
                                                             Drew
         7

         8

         9,

        10

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              MCCANDLESS GROUP LLC AND NICHOLAS MCCANDLESS' RESPONSE TO REQUEST FOR PRODUCTION
                        OF DOCUMENTS FROM DEFENDANT THE COY COLLECTIVE, INC., SET ONE



                                                                                              Page 142
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            1                                        VERIFICATION

         2             I, Nicholas McCandless, have read and reviewed the foregoing document titled

         3 MCCANDLESS                GROUP       LLC.'S   RESPONSE             TO      JESSICA          BARTLETT'S

         4 INTERROGATORIES                   (SET     ONE),         MCCANDLESS                   GROUP       LLC.'S

         5 SUPPLEMENTAL                    RESPONSES               TO            JESSICA                BARTLETT'S

         6 INTERROGATORIES                  (SET    ONE),   AND         MCCANDLESS                 GROUP     LLC.'S

         7 SUPPLEMENTAL                  RESPONSES          TO           THE          COY          COLLECTIVE'S

         8 INTERROGATORIES, (SET ONE) and know its contents.

         9            Iam an authorized representative of McCandless Group LLC., aparty to this action,

        10      and am authorized to make this verification for and on its behalf, and Imake this

       11       verification for that reason. Based on my knowledge, the matters stated in the foregoing

       12       document are true.

       13             Ideclare under penalty of perjury under the laws of the United States that the

       14       foregoing is true and correct.

       15             Executed on this 2nd day of August 2023, in Los Angeles County, California.

       16

       17

       18
                                                                 Nihoas McCcvi&ess
                                                                Nicholas McCandless (Aug 2,2023 17:28 EDT)
       19
                                                                NICOLAS MCCANDLESS
       20
                                                                MCCANDLESS GROUP, LLC
       21

       22

       23

       24

       25

       26

       27

       28
                                                            2
                        PLAINTIFF AND COUNTER-DEFENDANT'S NOTICE OF DEPOSITION TO THOMAS DREW




                                                                                                                Page 143
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       McCandless v. Coy                                              -   Verifications
       Final Audit Report                                                                 2023-08-02


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                                   #:6181




           From:                            Nicholas McCandless via DocuSign
           Sent:                           Wednesday, May 20, 2020 11:27 PM POT
           To:                             Corey Lewis
           Subject:                        Corey Lewis NDA



                          MC CAN DLE 55
                          GROUP




                                                   Nicholas McCandless sent you adocument to review and sign.




                   Nicholas McCandless

                 nick@nickmccandless.com


                 Corey Lewis,

                 Please DocuSign Corey Lewis NDA.pdf

                 Thank You, Nicholas McCandless



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                                   #:6184



    Number of participants

                                     8: mark. lenteken
    Participants
                                     8: n1ck212004ps3

    Number of messages              29

    rFirst message sent date/time February 18, 202117:31:01

    Last message sent date/time     February 18, 2021 17:56:35




          8:n1ck212004ps3                                        February 18, 202117:31:01



         Hey Mark, are you there?




          8:mark.Ienteken                                        February 18, 202117:35:36



         Hi Nick




           8:nick212004ps3                                       February 18, 202117:35:49



         Are you able to do aquick design for me today?




           8:mark.Ienteken                                       February 18, 202117:36:04



         what kind of design?




           8:nick212004ps3                                       February 18, 202117:37:41



         Let me share




           8:nick212004pS3                                       February 18, 202117:37:43



         One second




                                                                                             MCCANDLESSOI 4751
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                                   #:6185

r




           8: nick212004ps3                                               February 18, 202117:41:32



          So you will see this design and elements. We already built this but we want to change the design
          without changing the elements. So we will still have these 4photos and the options for the text.
          That will stay the same, but we need it to look different enough to where someone wouldn't thin
          kits the same design




           8:nick212004p53                                                February 18, 202117:41:42



          It's just alanding page




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         8:mark.Ienteken                                               February 18, 202117:43:41



        okay Iunderstand but Ican't finish it today. Ican send it tomorrow




         8:nick212004ps3                                              February 18, 202117:46:14




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        8:n1ck212004ps3                                       February 18, 202117:
                                                                                 46:14



       <MediaAlbum albumld= "8ff36af2-2d8b-4629-993d-bf9e44646169"> </MediaAlbum>




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                                                                                                  Page 152
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        8:nick212004ps3                                                February 18, 202117:47:03




        8:mark.Ienteken                                                February 18, 202117:48:02



       okay got it. how much is your budget?




        8:nick212004ps3                                                February 18, 202117:48:14



       Tomorrow is fine. Here are afew notes: 1) For the name please have it say ALE)(A DELLANOS2)
       For the four images, use these3) Make sure we dont have those blue lines at all as those were sp
       ecific to another brand. Like the lines next to TITLE1 Hi and TITLE2 Hi




        8:nick212004ps3                                                February 18, 2021 17:48:19




        8:nick212004ps3                                                February 18, 202117:48:51



       How long will it take you? Should be aquick simple thing




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        8:mark.Ienteken                                                 February 18, 202117:49:43




       no, its not quick simple thing. Ineed to design new style/brand for it.




        8:nick212004ps3                                                 February 18, 202117:50:09



       Ok what cost is fair to you?




        8:mark.Ienteken                                                 February 18, 202117:50:25



       $180




        8: nick212004ps3                                                February 18, 202117:52:00



       Ok that works if you can have it to me by tomorrow




        8:mark.Ienteken                                                 February 18, 2021 17:55:36



       Here is the invoice for the downpayment




        8:mark.Ienteken                                                 February 18, 202117:55:37



       <a href="https://www.paypal.com/invoice/p/#A3AACH8ZN2PFAHVE"> https://www.paypal.com
       /invoice/p/#A3AACI-18ZN2PFAHVE</a>




        8:nick212004ps3                                                 February 18, 202117:56:19



       Paid




        8:mark.Ienteken                                                 February 18, 202117:56:35



       Thank you




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                                                                                                              Page 154
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                                                                          Page 156
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    Number of participants

                                       8:nick212004ps3
    Participants
                                       8: live: ritag_57

    Number of messages          18

    First message sent date/time October 16, 2020 16:07:59
                                 I
    Last message sent date/timej October 16, 2020 16:20:54




          8:nick212004ps3                                                  October 16, 2020 16:07:59



         Hey Rita, have aquestion when you have asecon




          8: nick212004ps3                                                 October 16, 2020 16:08:02



         second*




          8:Iive:ritag_57                                                  October 16, 2020 16:10:23



         Good Morning, Nick <ss type= "smile">:) </ss>




          8:nick212004ps3                                                  October 16, 2020 16:17:24



         Hey Rita, Ihope all is well




           8:nick212004ps3                                                  October 16, 2020 16:19:18



         Ijust wanted to confirm something. Iam assuming that in terms of customer data, relationships,
         terms, etc. all of that remains exclusively with me and my company even though Coy Co receives
         the earnings on their sites correct? Iam just wanting to confirm that in the event where Idecide
         to no longer work with them that they would have to get their own account resulting in higher fe
         es, no account history like Ihave, no transfer of customer data/info, etc. since its all ran under m
         e, correct?




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        8:Iive:ritag_57                             October 16, 2020 16:20:33



       That is all correct.




        8: nick212004ps3                            October 16, 2020 16:20:47



       Perfect! Thanks for confirming that for me




        8:Iive:ritag_57                             October 16, 2020 16:20:54



       Anytime <ss type="smile"> :
                                 )<z/ss>




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